    Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 1 of 91




                           EXHIBIT A
      COMMISSION ON JUDICIAL CONDUCT ANNUAL REPORT (2017)
                         (Ex. A, p. 1 to 91.)



              MASSACHUSETTS CODE OF JUDICIAL CONDUCT
             S.J.C. Rule 3:09, Cannons 1 - 4, as amended (Jan. 1, 2016).
 By ORDER of the Supreme Judicial Court of the Commonwealth of Massachusetts,
https://www.mass.gov/files/documents/2016/10/pq/sjc-rule-309-amended-jan-2016.pdf
                                (Ex. A, p. 42 to 82.)




                           Ex. A, p. 1 of 91.
Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 2 of 91



THE COMMONWEALTH OF MASSACHUSETTS




    Commission on Judicial Conduct
           Annual Report
                2017




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                 Boston, Massachusetts 02108



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                    Ex. A, p. 2 of 91.
Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 3 of 91




                    Ex. A, p. 3 of 91.
            Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 4 of 91
                                The Massachusetts Commission on Judicial Conduct


                                          INTRODUCTION

	 The legislature created the Massachusetts Commission on Judicial Conduct (Commission) in 1978
and entrusted it with the important mission of enforcing standards of judicial conduct for Massachusetts
state judges, promoting public confidence in the judiciary, and preserving the integrity of the judicial
process.

	 The membership of the Commission consists of nine people, each appointed for an unpaid six-year
term: three judges appointed by the Supreme Judicial Court, three lawyers appointed by the Chief
Justice of the Trial Court, and three non-lawyers appointed by the Governor. The Commission is the
designated forum in Massachusetts for all complaints alleging misconduct by a judge or alleging mental
or physical disability affecting a judge’s performance.

	 Anyone may file a complaint with the Commission: a party in a case, a lawyer, another judge, or
an interested citizen who believes a judge has committed misconduct or has a disability affecting his
or her ability to serve as a judge. The Commission continually works to take appropriate steps to make
itself accessible to the public. Complaints may, of course, be submitted to the Commission’s office
by regular mail or in-hand delivery. Those wishing to file a complaint may also submit a complaint
by facsimile. Beginning in July of 2015, the Commission also began accepting complaints submitted
directly through its website at www.mass.gov/cjc.

	 What constitutes misconduct by a judge is largely defined by the Massachusetts Code of Judicial
Conduct, also known as “Supreme Judicial Court Rule 3:09.” Judicial misconduct under this Code can
include (but is not limited to) a judge creating an appearance of bias, treating a party discourteously,
failing to give all interested parties a full opportunity to make their arguments, or failing to make a
decision in a prompt, efficient, and fair manner.

	 Under the rules that govern its operation, the Commission must conduct an inquiry into or investigate
any complaint that alleges specific facts that, if true, would constitute misconduct. This investigation or
inquiry is conducted by the Commission’s staff, which includes four full-time lawyers – the Executive
Director and three staff attorneys. Each lawyer employed by the Commission has extensive experience,
not just as a lawyer, but as a practitioner in the courts of the Commonwealth. Each attorney employed
by the Commission brings his or her considerable experience to bear in the course of investigating or
conducting an inquiry into a complaint and then reports the results to the nine individuals who make
up the Commission.

	 If the membership of the Commission concludes that the complaint lacks merit – that there is no
evidence of misconduct – then the matter will be dismissed. In that event, both the complainant and
the judge receive notice of the dismissal, and under most circumstances, the complaint will remain
confidential. If, however, the Commission finds that the complaint has merit, it may reach an agreement
for discipline with the judge, which may be public or confidential; the Commission and the judge may
reach an agreement to make a confidential direct submission to the Supreme Judicial Court, which
may result in either public or confidential discipline; or the complaint may proceed to formal charges,
which are nearly always public.
	
	 The Commission is not a forum for a complaint that a judge’s decision in a particular case was
incorrect. Judges are rightly entrusted with broad discretion to interpret the law and/or decide what
evidence before them should be credited and taken as true. Many complaints are filed with the
                                      Ex. A, p. 4 of 91.
            Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 5 of 91
                                The Massachusetts Commission on Judicial Conduct
Commission by parties who are disappointed with how their cases came out and believe the judge was
not “fair” or that his or her decision was wrong. Hardly a judge in Massachusetts escapes such claims
over the course of his or her career on the bench, and the Commission’s examination of complaints
regarding a judge’s decision is limited to allegations that a judge clearly violated the Code, or made
a legal decision in “bad faith” or based on a corrupt motive. If a party alleges that a judge has
misinterpreted the law or evidence, the proper forum for a remedy includes the appellate court but
does not include the Commission.

	 One understandable frustration sometimes expressed about the Commission is that the bulk of
the Commission’s work and decision-making is behind closed doors and is never made known to the
public. Some would have everything “out in the open,” but for very good reasons, the law does not
go that far. The Commission operates within a statute and rules that tightly define when a complaint
or information about a complaint can be communicated to the public. Although its statute and rules
do grant the Commission some limited authority to make information about a complaint public,
the experienced membership of the Commission must carefully weigh whether, given the facts and
circumstances of a particular complaint, public disclosure would serve or undermine the Commission’s
mission to preserve the integrity of the judicial process and promote public confidence in the judiciary.

	 Confidentiality can often serve the Commission’s mission because it encourages complainants and
witnesses to express their concerns or what they know about a complaint without fear of reprisal or
retribution. Confidentiality also protects a judge’s reputation and the integrity of the judicial process
from unsubstantiated allegations. Complaints, appropriately, only become public when the judge has
agreed to a public disclosure, when the complaint has been submitted to the Supreme Judicial Court
for disposition, or when the Commission files formal charges against a judge with the Supreme Judicial
Court – circumstances that apply only when the investigative process has been completed and the
judge has been given an opportunity to respond. In other words, once there is an actual, substantiated
complaint, and not just mere allegations, the pendulum swings in the direction of the public’s right to
know.

	 I would like to thank members of the judiciary, court staff, the legal community, and members of
the public for their assistance in helping the Commission to fulfill its important function. I must also
extend my particular gratitude to the Commission’s staff and to the membership of the Commission,
who work tirelessly throughout the year to ensure public confidence in the judiciary and in the judicial
system.

	 If any member of the public, the bar, or the judiciary has questions about the work of the Commission
or the contents of this report, he or she is welcome to contact this office.


							                                          Sincerely,




							                                           Howard V. Neff, III
							                                           Executive Director




                                      Ex. A, p. 5 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 6 of 91




                                      TABLE OF CONTENTS


I.	     THE MASSACHUSETTS COMMISSION ON JUDICIAL CONDUCT . . . . . . . . 1
		       1.	 The Commission’s Jurisdiction . . . . . . . . . . . . . . . . . . . . . . . . . . .               1
		       2.	 The Complaint Process . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   1
	    	   3.	 Confidentiality . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .         4
				
		
II.	 SUMMARY OF COMMISSION ACTIVITY . . . . . . . . . . . . . . . . . . . . . .                                4
			

III.	   CASE SUMMARIES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12


IV. 	 GENERAL INFORMATION ABOUT THE COMMISSION . . .                                 .   .    . . . . . .      14
		        1.	  Membership . . . . . . . . . . . . . . . . . . .                      .    .    . . . . .       14
		        2.	  Budget . . . . . . . . . . . . . . . . . . . . . .                    .    .    . . . . .       14
		        3.	  Staff . . . . . . . . . . . . . . . . . . . . . .                    .    .    . . . . .        15
		        4. 	 Meetings . . . . . . . . . . . . . . . . .                           .     .     . . . .        15


V.	 APPENDICES . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      . . .    .   16
		A.	        Massachusetts General Laws Chapter 211C . . . . . . . .                              . . .    .   16
		       B.	 Rules of the Commission on Judicial Conduct . . . . .                               . . .     .   24
	   	    C.	 Code of Judicial Conduct (effective January 1, 2016)                                  . .    .    35
		D.	        Flow Chart of Commission Procedures . . . . . . . . .                               . . .     .   77
		       E.	 Complaint Form . . . . . . . . . . . . . . . . . . . . . .                          . . .     .   81




                                      Ex. A, p. 6 of 91.
Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 7 of 91




                    Ex. A, p. 7 of 91.
            Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 8 of 91
                                 The Massachusetts Commission on Judicial Conduct
                                                      grounds for discipline include violations of these
I. THE MASSACHUSETTS COMMISSION
                                                      rules, as well as the following:
       ON JUDICIAL CONDUCT
                                                      		 (1)	 conviction of a felony;
	 The Massachusetts Commission on Judicial            		 (2)	 willful misconduct in office;
Conduct (Commission) was established in 1978          		 (3)	 willful misconduct which, although
with the enactment of the Court Reorganization        not related to judicial duties, brings the judicial
Act. Before April 1, 1988, Commission activity        office into disrepute;
was governed by the provisions of Massachusetts       		 (4) 	 c o n d u c t p r e j u d i c i a l t o t h e
General Laws Chapter 211C, as inserted by St.         administration of justice or conduct unbecoming
1978, Chapter 478, sec. 114. In 1987, Chapter         a judicial officer, whether conduct in office or
211C was substantially amended, effective April       outside of judicial duties, that brings the judicial
1, 1988. See St. 1987, Chapter 656. Since 1988,       office into disrepute; or
the Commission has been operating under the           		 (5)	 any conduct that constitutes a
amended version of Chapter 211C and new               violation of the codes of judicial conduct or
procedural rules. Chapter 211C was later              professional responsibility.
amended by St. 2011, Chapter 93, effective July
1, 2012 (see Appendix A). Commission Rules 1          	 The Commission may not investigate
and 6 were amended, effective October 1, 1999;        allegations of misconduct that occurred more than
and Commission Rules 1, 6, and 7 were revised         one year prior to the date the complaint is received
and Rule 13 was added, effective July 1, 2007.        unless the Commission finds “good cause” to
Rules 1 and 6 were again amended, effective           investigate the allegations, or unless there is an
March 1, 2015 (see Appendix B).                       alleged pattern of recurring judicial misconduct,
                                                      the last episode of which arose during the one-
	 The current Code of Judicial Conduct                year period.
(Supreme Judicial Court Rule 3:09) became
effective on January 1, 2016 (Appendix C).            	 The Commission does not have the power
                                                      to determine whether a judge made the correct
	 This annual report covers the Commission’s          decision; that is for appellate courts. The
activities from January 1, 2017 through December      Commission does not have the power to change
31, 2017.                                             the decisions of any court or to intervene in
                                                      any case. The filing of a complaint with the
1. THE COMMISSION’S JURISDICTION                      Commission does not automatically require the
	 The Commission is authorized to accept              disqualification of the judge from a pending case.
complaints only against Massachusetts state court     2. THE COMPLAINT PROCESS
judges. The Commission’s jurisdiction includes
the conduct of all judges, including any retired      a. Initiation of Proceedings
judge who is assigned to perform the duties of
a judge for a temporary period, all conduct that      	 A complaint may be filed by any person.
occurred prior to a judge’s assuming judicial         In order to make sure a complaint contains all
office, and conduct of a lawyer who is no longer      the information necessary for screening, the
a judge that occurred while he or she held judicial   Commission provides a complaint form (see
office.                                               Appendix E). However, a letter to the Commission
                                                      which contains all the necessary information
	 The Code of Judicial Conduct, promulgated           may suffice. If there is a reason preventing the
by the Supreme Judicial Court (Rule 3:09; see         complainant from filing in writing, a complaint
Appendix C), sets forth canons and rules which        may be filed orally. Any complaint may be filed
govern a judge’s behavior. The Commission’s           anonymously. The Commission may initiate its

                                       Ex. A, p. 8 of 91.                                                      1
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 9 of 91
    Complaint Process
    own complaint when it receives reasonable            dismissed or investigated, depending upon the
    information about judicial misconduct.               vote of the majority of the Commission.

    b. Screening                                         f. Notice to the Judge

    	 When the Commission receives a complaint,          	 In most cases, the judge is immediately
    the staff screens it to determine whether the        notified of the complaint and invited to respond if
    complaint falls within the Commission’s              he or she wishes. If the complaint is considered
    jurisdiction. In order for a complaint to be         right away by the Commission for summary
    docketed, it must allege specific facts which,       dismissal and the Commission votes to dismiss
    if true, would constitute judicial misconduct        the complaint, notice of the complaint will be
    or disability. If the complaint does not allege      given to the judge at the same time the judge
    judicial misconduct or disability, it is not         receives a letter notifying him or her of the
    accepted. If it does, it is docketed and assigned    dismissal.
    a complaint number.
                                                         	 If the Executive Director determines upon
    c. Frivolous or Unfounded Complaints                 screening a complaint that notifying the judge
    	 If, upon screening, the Executive Director         would create a substantial risk of evidence being
    considers a complaint to be “frivolous or            lost or destroyed, or a substantial danger of
    unfounded” under Commission Rule 6D,                 retaliation by the judge against the complainant
    the complaint goes to the Commission for             or any other person mentioned in the complaint,
    consideration of whether it should be summarily      the complaint goes to the Commission for initial
    dismissed.                                           consideration of whether there exists such a
                                                         risk or danger. Unless the Commission finds
    d. Stale Complaints                                  that there is such a risk or danger, the judge
                                                         receives full notice of the complaint before
    	 If, upon screening, the Executive Director         the investigation is begun. If the Commission
    finds that a complaint alleges judicial misconduct   does find that there is such a risk or danger,
    that occurred more than one year prior to the        the Commission can withhold notice of the
    filing of the complaint, the complaint goes to       complaint in whole or in part. The complaint
    the Commission for consideration of whether          is then investigated. Notice is withheld only
    there is good cause to investigate it. “Good         until such risk or danger ends. The judge then
    cause” considerations include how serious and        receives full notice of the complaint.
    how old the allegations are, why the complaint
    was not filed sooner, and whether evidence and       g. Investigation
    witnesses’ memories of the events are likely         	 The staff member assigned the complaint
    to still exist. After a finding of no good cause,    conducts a prompt, confidential investigation,
    a complaint is dismissed, and the judge and          which may include listening to the audio record
    complainant are so notified. After a finding of      of court proceedings, reviewing transcripts,
    good cause, a complaint is investigated.             interviewing witnesses, reviewing documents,
    e. Anonymous Complaints                              and conducting legal research. At the conclusion
                                                         of the investigation, the Commission reviews the
    	 Before an anonymous complaint can be               report of the investigation, the judge’s response,
    investigated, it must first go to the Commission     if any, and any other relevant materials. The
    to determine whether the seriousness or the          Commission then votes whether to dismiss the
    notoriety of the misconduct alleged outweighs        matter, or to proceed to a Sworn Complaint
    the potential prejudicial effect of investigating    or Statement of Allegations. At any stage of
    the complaint. The complaint is thereafter           the proceedings, the Commission may vote to
2                                         Ex. A, p. 9 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 10 of 91
                                                                               Complaint Process
dismiss the complaint or to propose to the judge       k. Sworn Complaint or Statement of Allegations
that the complaint be disposed of by Informal
Adjustment, Private Reprimand, or Rule 13              	 After considering the investigation of a
referral to the Supreme Judicial Court.                complaint, if the Commission votes to proceed to
                                                       the next level of charging, either the complainant
h. Dismissal with an Expression of Concern             signs a Sworn Complaint or the Commission
                                                       staff prepares a Statement of Allegations. The
	 If the Commission finds, after investigation         Sworn Complaint or Statement of Allegations
of a complaint, that the facts do not rise to the      is sent to the judge. The judge then has twenty-
level of judicial misconduct but are cause for         one days in which to respond in writing and to
concern for the future, the Commission may             request an appearance before the Commission.
dismiss a complaint while expressing to the judge      The judge may be accompanied by counsel.
its specific concern.                                  After the twenty-one days allowed for a judge’s
i. Agreed Disposition/Informal Adjustment              response to the Sworn Complaint or Statement of
                                                       Allegations, and after the judge’s appearance, if
	 An Agreed Disposition may take the form of           any, the Commission can vote to dispose of the
an Informal Adjustment in which the Commission         matter by dismissing the complaint, by issuing
informs or admonishes the judge that certain           Formal Charges, or by proposing to the judge
conduct is or may be cause for discipline. This        that the complaint be disposed of in one of the
form of disposition requires agreement by the          following three ways: (1) Informal Adjustment;
judge to the terms of the Informal Adjustment. In      (2) Private Reprimand; or (3) direct submission
most cases, this type of disposition has a valuable,   to the Supreme Judicial Court under Commission
favorable effect on a judge’s conduct.                 Rule 13.

	 The terms of such a disposition usually include      l. Formal Charges
a period of monitoring by the Commission and
conditions imposed on the judge that are designed      	 When Formal Charges are issued, they are
to prevent a repetition of the misconduct. The         sent to the judge, who has ten days to respond.
conditions may include counseling, education,          After reviewing the judge’s response, if the
assignment of a mentor judge, monitoring by            Commission decides to continue with the formal
the Commission for a specified period of time,         proceedings, it files the Formal Charges and the
voluntary retirement, or other appropriate             judge’s response with the Supreme Judicial Court
conditions.                                            and both documents become public.
                                                       m. Hearing
j. Agreed Disposition/Private Reprimand
	 Another form of Agreed Disposition is                	 When Formal Charges are filed with the
a Private Reprimand to a judge. A Private              Supreme Judicial Court, the Commission requests
                                                       that the Supreme Judicial Court appoint a Hearing
Reprimand is considered to be a more severe
                                                       Officer. The Commission then schedules a hearing,
discipline than the Information or Admonition
                                                       which is open to the public. The rules of evidence
mentioned in the preceding section. However,
                                                       applicable to civil proceedings in Massachusetts
this type of disposition also requires the consent
                                                       apply at the hearing. The Commission has the
of the judge and usually includes a period of
                                                       burden of proving the charges by clear and
monitoring by the Commission and conditions            convincing evidence. Within thirty days after
imposed on the judge that are designed to prevent      the conclusion of the hearing, the Hearing Officer
a repetition of the misconduct.                        submits a report to the Commission containing
                                                       proposed findings and recommendations.


                                       Ex. A, p. 10 of 91.                                                  3
               Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 11 of 91
    Complaint Process/Confidentiality

    n. Commission Recommendations                        Commission and the judge agree upon the facts,
                                                         but not upon the discipline to be recommended,
    	 Within ninety days of receiving the Hearing        and the Supreme Judicial Court’s decision is
    Officer’s report, the Commission must submit         final. Under Rule 13B, the Commission and
    its own report and recommendations to the            the judge agree upon the recommendation
    Supreme Judicial Court. Before the Commission        for discipline but not upon the facts. If the
    does so, the judge and the complainant have the
                                                         Supreme Judicial Court does not adopt the
    right to be heard regarding the Commission’s
                                                         agreed recommendation, the matter returns to
    recommendation for discipline. That hearing
                                                         the Commission for further proceedings.
    is open to the public; however, the Commission
    deliberations which follow are closed. The           q. Physical or Mental Disabilities
    Commission’s conclusions and recommendations
    may differ from those of the Hearing Officer.        	 In dealing with complaints that allege
                                                         physical or mental disabilities that affect a
    o. Disposition                                       judge’s performance, the Commission follows
    	 The Supreme Judicial Court may adopt the           the same procedures described above for
    Commission’s recommendations concerning              proceedings on complaints alleging judicial
    discipline or impose greater or lesser discipline.   misconduct.
    The Commission’s authority to dispose of a
                                                         3. CONFIDENTIALITY
    complaint is limited to dismissal or Agreed
    Disposition. The Commission does not have the        	 The statute and the rules that govern the
    power to impose disciplinary sanctions without       Commission on Judicial Conduct require that
    the consent of the judge; only the Supreme           the complaint and all Commission proceedings
    Judicial Court has that power. The Commission        remain confidential, unless and until the
    may recommend that the Supreme Judicial Court        Commission files Formal Charges with the
    impose a greater variety of sanctions upon a judge   Supreme Judicial Court. (There are certain
    than is available to the Commission, including       limited exceptions to this requirement.) This
    public censure. Neither the Commission nor the       strict confidentiality includes all communications
    Supreme Judicial Court has the power to remove
                                                         made to and by the Commission or its staff; it
    a judge from the bench. (The Legislature must
                                                         protects complainants, witnesses, and judges.
    act in order to remove a judge for misconduct.
    The Governor and Governor’s Council may
                                                             II. SUMMARY OF COMMISSION
    retire a judge for mental or physical disability,
                                                                    ACTIVITY IN 2017
    before the mandatory retirement age of seventy.)
    The complainant and the judge are notified of the    	 Fifty-eight of the 382 complaints received in
    final disposition of a complaint.                    2017 fell within the Commission’s jurisdiction
                                                         and were docketed. The Commission received
    p. Direct Submission to the Supreme Judicial
                                                         149 complaints through its online complaint
    Court
                                                         form. Of those complaints docketed, twenty-two
    	 If the Commission finds that a judge has           (37.9%) were filed against judges of the Probate
    committed judicial misconduct and an Informal        Court; twenty-three (39.7%) were filed against
                                                         judges of the District Court; four (6.9%) were
    Adjustment/Agreed Disposition has not been           filed against judges of the Superior Court; three
    reached, but the judge does not wish to proceed      (5.2%) were filed against judges of the Housing
    to a public hearing, the Commission and the          Court; three (5.2%) were filed against judges
    judge may agree to submit the matter directly        of the Juvenile Court; and an additional three
    and confidentially to the Supreme Judicial Court     (5.2%) were filed against judges of the Municipal
                                                         Court. There were no docketed complaints
    pursuant to Rule 13. Under Rule 13A, the
4                                         Ex. A, p. 11 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 12 of 91
                                                      Confidentiality/Commission Activity

against the justices of the Supreme Judicial Court,   96.4% of the complaints disposed of by the
the Appeals Court, or the Land Court. Charts 3A       Commission during 2017. Of those complaints
and 3B present the distribution of complaints by      dismissed outright, thirteen were dismissed after
court.                                                preliminary review and forty were dismissed after
                                                      investigation because the Commission did not
	 Litigants filed 79.3% of the complaints             find that any judicial misconduct had occurred.
docketed in 2017. Of the litigants who filed          The Commission actively monitored four Agreed
complaints, 73.9% were self-represented.              Dispositions in 2017. Three of those Agreed
Lawyers filed 1.7% of complaints. Relatives           Dispositions became effective in 2017. As of the
of litigants filed 5.2% of the complaints.            end of 2017, two of the four Agreed Dispositions
Another 3.4% of complaints were filed with the        had been successfully closed.
Commission anonymously. The Commission
also received one complaint (1.7%) from a
concerned citizen and three complaints (5.2%)
from an employee of the Judiciary. Chart 5
presents the distribution of complaints by source.

	 Most of the complaints docketed in 2017
contained multiple allegations. The subject
matter of the allegations is presented in Chart 6.
The most frequent allegation was inappropriate
demeanor, appearing in 55.2% of the complaints.
Denial of a full opportunity to be heard was
the second most frequent allegation, appearing
in 46.5% of complaints. Bias or prejudice
was alleged in 44.8% of complaints. Of those
complaints alleging bias, 7.7% alleged bias
against criminal defendants. Bias against a
particular gender appeared in 23.1% of bias
complaints. Bias against self-represented
litigants appeared in 15.4% of bias complaints.
Socioeconomic bias was alleged in 3.8% of
complaints alleging bias. Unspecified bias
was alleged in the remaining 50.0% of bias
complaints. Denial of constitutional rights
appeared in 20.7% of complaints. Abuse of
authority was alleged in 8.6% of the complaints
docketed in 2017.

	 Chart 1 presents the status of the Commission’s
2017 docket. The Commission disposed of
fifty-five complaints in 2017, including some
that were carried over from the previous year.
Seventeen complaints were pending at the end of
2017, including two Informal Adjustments, four
preliminary inquiries, and eleven investigations.

	 As shown in Chart 2A, the Commission
dismissed fifty-three complaints outright, or

                                      Ex. A, p. 12 of 91.                                                 5
             Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 13 of 91
    Charts




                                        CHART 1
                              Status of Commission Docket
                                          2017
    	 			
    	 Complaints Pending January 1, 2017						                        14			
    						
    		      Hearings in Progress				             0		
    		      Investigations in Progress			        9		
    		      Preliminary Inquiries in Progress		  4
    		Informal Adjustments in Progress		1		
    								
    	 Complaints Docketed in 2017							                              58			
    							
    	 Complaints Disposed of in 2017						                            55			
    	
    	 Complaints Pending as of December 31, 2017				                  17			
    		      Hearings in Progress					               0		
    		      Investigations in Progress				          11		
    		      Preliminary Inquiries in Progress			    4
    		      Informal Adjustments in Progress			     2		
    		      Rule 13 SJC Orders in Progress			       0		




6                                Ex. A, p. 13 of 91.
         Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 14 of 91
                                                                             Charts

				
                                   CHART 2A
                          Commission Action on Complaints
                                      2017
				
	 Complaints Before the Commission in 2017			           72
				
		      Complaints Pending from Previous Year		         14	
		      Complaints Docketed in 2017			                  58	
			
	 Complaints Under Investigation in 2017			             54
	
  Complaints Informally Resolved/Actively Monitored	    4
			
	 Complaints Disposed of in 2017				                    55
				
		      Dismissed after Preliminary Review			           13	
		      Dismissed after Investigation				               40	
		      Dismissed with Concern (after investigation)	   0	
		      Disposed of by the Supreme Judicial Court		     0	
		      Informally Resolved/Closed with Reprimand	      0	
		      Informally Resolved/Closed Other			             2	




                                    CHART 2B
                         Commission Action on Complaints
                                                               Informally
                            Informally
                                       2017                   Resolved and
  Disposed of by the       Resolved/Closed                       Closed
  Supreme Judicial         with Reprimand                          2
        Court                     0
          0
        Dismissed with
        Concern (after                                               Dismissed after
        investigation)                                                Preliminary
               0                                                        Review
                                                                           13




                          Dismissed after
                           Investigation
                                40




                                 Ex. A, p. 14 of 91.                                   7
             Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 15 of 91
    Charts

    					
                                     CHART 3A
                                  Complaints by Court
                                         2017
    										                                                          N=
                                                                         58	 	
    								
    		 Supreme Judicial Court (7)*				                                  0		
    		 Appeals Court (25)						                                         0		
    		 Superior Court (82)						                                        4		
    		 Land Court (7)						                                             0		
    		 Probate & Family Court (51)				                                  22		
    		 Housing Court (10)						                                         3		
    		 District Court (158)						                                       23		
    		 Boston Municipal Court (30)				                                  3		
    		 Juvenile Court (41)						                                        3		
    									
    		

    		
    				                    *the number of judges authorized by statute for each court 					
    				




                                   CHART 3B
                                Complaints	by	Court	
                                      2017
                                             Supreme Judicial   Appeals Court
                              Juvenile Court      Court              0
                                    3               0
                                                                         Superior Court
       Boston Municipal                                                        4
            Court
              3
                                                                            Land Court
                                                                                0




                                                                                Probate & Family
                                                                                     Court
      District Court
                                                                                       22
            23

                                           Housing Court
                                                 3




8                                Ex. A, p. 15 of 91.
      Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 16 of 91
                                                                        Charts

						
				  CHART 4					
	 	 	                 Type(s) of Case Involved	 	 	 	 	                     	
		                             2017		      			N= 58*	
							
	 Divorce, Custody, Support							        18	
	 Civil										                         23	
		        • Abuse Prevention						    12	
	
	Criminal									9	
	 Estate or Other Probate Matter						    1	
		        • Guardianship							       1			
	
	 Off Bench Conduct								               2	
	 Juvenile									                       3	
	 Small Claims									                   3	
								
                        * Some complaints involve more than one case.




						
	       CHART 5
	 Type(s) of Complainant
	2017	            	    		 N= 58*	
								
	 Litigant									                                      46	
		        Self-Represented			                         32
			
	 Lawyer									                                        1	
	 Litigant’s Relative								                            3	
	Concerned Citizen								1	
	 Commission on Judicial Conduct						                   0	
	 Witness, Victim, Victim’s Relative						               2	
	 Anonymous									                                     2			
	 Judicial Employee								                              3	
	 Other										                                        0	
								
			* Some complaints have more than one complainant.	




                          Ex. A, p. 16 of 91.                                    9
              Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 17 of 91
     Charts


     						
     					        CHART 6					
     			 Subject Matter of Complaints*					
     			             2017					
     								
     	 Bias, Prejudice †						                                         26
     		       Gender					                         6	
     			Against Men			4		
     			              Against Women		             2	
     		       Against Self-Represented Litigants		   4	
     		       Racial						                           0	
     		       Against Criminal Defendants			         2	
     		       Against Disabled or Elderly			         0	
     		       Socioeconomic				                      1	
     		       Other Bias					                        13

     	 Disagreement with Decisions and Rulings					                    24
     	 Inappropriate Demeanor							                                   32	
     	 Denial of Full Opportunity to be Heard					                     27
     	 Denial of Constitutional Rights						                           12
     	 Abuse of Authority								                                      5
     	 Failure to Follow the Law, Incompetence					                    3
     	 Administrative Problems							                                  2
     		        Delay	                                  2
     	 Retaliation									                                            0
     	 Corruption									                                             0
     	 Conspiracy, Collusion								                                   1
     	 Fraud, Deception, Dishonesty, Lack of Integrity				             0
     	 Conflict of Interest								                                    6
     	Improper Ex Parte Communication						                            3
     	 Failure to Maintain Order							                                2
     	 Bringing the Judiciary into Disrepute						                     2
     	 Giving Legal Advice/Acting as an Advocate					                  0
     	 Mental Disability								                                       0
     	


     	    *Many complaints contain more than one allegation.
     	    †A single complaint may allege more than one type of bias.
                                                                                .




     									
     						
10                                        Ex. A, p. 17 of 91.
       Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 18 of 91
                                                                         Charts


									
			                                  CHART 7					
	 	              Summary of Commission Activity, 2013 - 2017	 			
				
										
								                                          2013	 2014	 2015	 2016	 2017	
	 Complaints Pending from Previous Year		         77	   35	   23	   13	   14
										
	 New Complaints Docketed				                     55	   56	   55	   62	   58
									
	 Complaints Under Investigation		            	   82	   70	   61	   50	   53
										
	 Complaints Dismissed				                        92	   61	   60	   59	   53
										
	 Complaints Informally Resolved (in any Year)	   3	    7	    3	    2	    2		
	 and Closed this Year	
									
	 Complaints Informally Resolved (in any Year) 	  3	    2	    2	    1	    2		
	 and Still Pending at the End of this Year						
										
	 Complaints Informally Resolved this Year		      3	    5	    1	    1	    2
	 (Closed this Year or not)										
									
	 Public Hearings Begun this Year			              0	    0	    0	    0	    0
										
	 Reports Filed with the Supreme Judicial Court 	 0	    0	    0	    0	    0
										




                           Ex. A, p. 18 of 91.                                    11
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 19 of 91
     Case Summaries
                                             III. CASE SUMMARIES

          The following case summaries represent examples of complaints on which the Commission
     took action during 2017. Only masculine pronouns will be used, in order not to identify any of the
     participants.

          A.  Dismissed without Investigation (after Preliminary Inquiry)

          (1) Stale

          A self-represented litigant in a restraining order matter alleged that a judge of the District Court
     Department engaged in improper ex parte communication with the litigant’s opposing party and de-
     nied the litigant a full opportunity to be heard. The litigant referenced a hearing before the judge that
     occurred approximately thirty-two months before he filed his complaint with the Commission. The
     preliminary inquiry consisted of reviewing the materials submitted to the Commission by the litigant,
     reviewing the relevant docket sheet, and asking the litigant for any additional evidence to support his
     allegations. The preliminary inquiry yielded no credible evidence to support the litigant’s allegations.
     Accordingly, the Commission voted there was not good cause to investigate this stale complaint and
     to dismiss it.

          (2) Frivolous or Unfounded

           A friend of a litigant in a summary process matter alleged that a judge of the Municipal Court
     Department created an appearance of bias and prejudgment by preventing the litigant from presenting
     evidence and by telling the litigant that he would rule against the litigant no matter what evidence was
     presented. The preliminary inquiry consisted of reviewing the materials submitted to the Commission
     by the friend, interviewing the friend, and reviewing the docket sheet for the summary process matter
     at issue. The preliminary inquiry yielded evidence that the judge conducted the hearing fairly and
     impartially. Accordingly, the Commission voted to dismiss the complaint as frivolous or unfounded.

          (3) Anonymous

          An anonymous complainant alleged that a judge of the Probate and Family Court Department
     had engaged in a pattern of treating lawyers and other parties appearing before him discourteously.
     The preliminary inquiry consisted of a review of the complaint filed with the Commission. At the
     conclusion of the preliminary inquiry, the Commission voted that the seriousness or notoriety of the
     misconduct alleged in the complaint outweighed the potential prejudicial effect of an investigation
     into its merits and to investigate it. The investigation included a review of audio records from the
     judge’s courtroom and revealed no evidence of discourtesy. Accordingly, the Commission voted to
     dismiss the complaint.

          B. Dismissed after Investigation

           A self-represented defendant/tenant in a summary process matter alleged that a judge of the Hous-
     ing Court Department treated him discourteously, failed to grant him a full opportunity to be heard,
     failed to maintain proper courtroom decorum, and created an appearance of prejudgment during a
     trial on the complaint for eviction. The investigation included reviewing the materials submitted to
     the Commission by the defendant/tenant, asking the defendant/tenant for any additional evidence to
12                                        Ex. A, p. 19 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 20 of 91
                                                                                     Case Summaries
support his allegations, listening to the audio record of the trial at issue, and reviewing court docu-
ments from the matter at issue. The investigation revealed that, throughout the trial, the judge treated
the defendant/tenant politely and professionally, maintained proper courtroom decorum, and never
created an appearance of prejudgment. Accordingly, the Commission voted to dismiss the complaint.

      A self-represented plaintiff in a civil matter alleged that a judge of the District Court Department
treated him discourteously, created an appearance of bias against him because of his disability and/
or because he was self-represented, and denied him due process during a pretrial conference. The
investigation included reviewing the materials submitted to the Commission by the plaintiff, reviewing
the audio record of the hearing at issue, and interviewing a witness. The investigation revealed that
the judge treated the plaintiff patiently and courteously throughout the hearing, granted him full due
process, and did not do or say anything that would cause a reasonable person to believe that the judge
was biased against the plaintiff because he was self-represented or because of his disability. Accord-
ingly, the Commission voted to dismiss the complaint.

     C. Informal Adjustments/Agreed Dispositions

     The Commission on Judicial Conduct reprimanded a judge for treating parties appearing before
the judge in two separate matters discourteously, in violation of Rule 2.8(B) of the Code of Judicial
Conduct. The judge also agreed to retire voluntarily after unsuccessfully struggling to overcome
health difficulties.

      The Commission on Judicial Conduct admonished a judge for treating a party who appeared before
the judge discourteously and for otherwise behaving in a manner that was unbecoming a judicial officer
and that brought the judicial office into disrepute, in violation of M.G.L. c. 211C, sec. 2(5).Through
this conduct, the judge failed to be patient, dignified, and courteous to a person appearing before the
judge, in violation of Canon 3B(4) of the Code of Judicial Conduct then in effect. The judge agreed
to be monitored by the Commission and to meet with a mentor judge for a period of one year from the
effective date of the Agreed Disposition.




                                      Ex. A, p. 20 of 91.                                                    13
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 21 of 91
     Case Summaries/Commission


                        IV. GENERAL INFORMATION ABOUT THE COMMISSION

          1. MEMBERSHIP

          The Commission is composed of nine members who serve without pay. Three lay persons are
     appointed by the Governor, three lawyers are appointed by the Chief Justice of the Trial Court, and
     three judges are appointed by the Justices of the Supreme Judicial Court. The Commission annually
     elects one of its members to serve as Chair and one to serve as Vice Chair. Commission members
     are appointed to six-year terms and cannot serve consecutive terms, except when appointed to fill a
     vacancy for the remainder of an unexpired term.

           The Commission members who were appointed to serve during the period covered by this report
     are, as follows:

          	 John J. Carroll, Jr., Esq., Chair (Member since November 1, 2012)

          	 Hon. Robert N. Tochka, Vice Chair (Member since February 7, 2014)

          	 Hon. Julie J. Bernard (Member since October 31, 2014)

          	 Hon. John D. Casey (Member since December 1, 2014)

          	 Kathleen M. O’Donnell, Esq. (Member since December 10, 2014)

          	 Edward P. Ryan, Esq. (Member since November 1, 2016)

          	 Quinton B. Dale (Member since June 6, 2012)

          	 Felicia P. Wiltz, Ph.D. (Member since October 28, 2014)

          	 Jacqueline A. O’Neill (Member since October 31, 2014)

          Alternate members are appointed in each category, by the same appointing authorities, to serve at
     the call of the Chair in place of Commission members who are disqualified from or unable to participate
     in a Commission proceeding. Those appointed to serve during 2017 were, as follows:
          	
          Anthony M. Salerno, Esq. (since February 28, 2014)

          John G. Dugan, Esq. (since March 9, 2015)

          Hon. Sally Kelly (since March 1, 2016)

          2. BUDGET

           The Commission is an independent office within the Judicial Branch, funded through a line-item
     in the budget of the Supreme Judicial Court. The Commission received an appropriation of $760,970
     for fiscal year 2017.

14                                       Ex. A, p. 21 of 91.
         Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 22 of 91
                                                                                 Commission



    3. STAFF

    Executive Director:		          Howard V. Neff, III, Esq.

    Staff Attorneys:			            Audrey E. Cosgrove, Esq.

    					                          Stephanie W. Perret, Esq.

    					                          Bryan F. Duggan, Esq.

    Executive Assistant:		         Anthony M. Santoro, Esq.	

    Administrative Secretary:	     Darlene Graves			

    4. MEETINGS

    The Commission generally meets monthly on the second Tuesday of the month and holds special
meetings as needed. The Commission met eleven times in 2017.




                                 Ex. A, p. 22 of 91.                                              15
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 23 of 91
     Massachusetts General Laws
                                                    V. APPENDICES

                                                      APPENDIX A
                                  Massachusetts General Laws Chapter 211C,
                            as amended by St. 1987, c. 656 and St. 2011, c. 93, sec. 621.

     SECTION 1. Establishment; membership; expenses; term; chairman

     	       There shall be a commission on judicial conduct consisting of nine members. Three judges
     shall be appointed by the justices of the supreme judicial court, none of whom shall be justices of said
     court and no two of whom shall be from the same department of the trial court. Three members of
     the bar shall be appointed by the chief justice of the trial court, none of whom shall be judges. Three
     members shall be appointed by the governor, none of whom shall be members of the bar. The members
     of the commission shall serve without compensation, but shall be reimbursed for all expenses rea-
     sonably incurred by them in the performance of their duties. Members of the commission shall serve
     for six year terms. Commission membership shall terminate if a member ceases to be qualified for
     the appointment. A vacancy shall be filled by the appointing authority for the remainder of the term.
     Upon the expiration of the term of office of a member, his successor shall be appointed in the manner
     aforesaid. No person shall succeed himself as a member of the commission except when his member-
     ship is due to an appointment to fill a vacancy for the remainder of an unexpired term. One or more
     alternate members, as necessary, shall be selected in the manner prescribed for initial appointments
     in each representative class, and shall serve at the call of the chairman to take the place of those who
     are disqualified from participating in a commission proceeding pursuant to commission rules.

     SECTION 2. Investigations; hearings; recommendations

     	        (1) All judges of the trial court, the appeals court and the supreme judicial court shall be subject
     to discipline pursuant to this chapter. The commission on judicial conduct shall have the authority to
     receive information, investigate, conduct hearings, and make recommendations to the supreme judicial
     court concerning allegations of judicial misconduct and allegations of mental or physical disability
     affecting a judge’s performance.
     	        (2) The commission shall have jurisdiction over investigations and recommendations regard-
     ing discipline arising from the conduct of all judges, including any retired judge who is assigned to
     perform the duties of a judge for a temporary period. This jurisdiction shall include all conduct that
     occurred prior to a judge’s assuming judicial office, and conduct of a lawyer who is no longer a judge
     that occurred while he held judicial office; provided, however, that in evaluating such conduct, the
     commission shall give substantial weight to relevant decisions of the supreme judicial court and the
     board of bar overseers regarding bar discipline. The foregoing shall not be construed to derogate the
     inherent authority of the supreme judicial court to supervise and discipline judges, the authority of
     the governor with the consent of the council to remove a judge upon the address of both houses of the
     legislature or to retire a judge involuntarily because of advanced age or mental or physical disability,
     the authority of the legislature to remove a judge through impeachment, or the supervisory authority
     of the chief justices of the appeals and supreme judicial courts or of the chief and department admin-
     istrative justices of the trial court.
     	        (3) Except where the commission determines otherwise for good cause, the commission shall
     not deal with complaints arising out of acts or omissions occurring more than one year prior to the
     date commission proceedings are initiated pursuant to section five; provided, however, that, when
     the last episode of an alleged pattern of recurring judicial conduct arises within the one year period,
16                                          Ex. A, p. 23 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 24 of 91
                                                                  Massachusetts General Laws
the commission may consider all prior acts or omissions related to such alleged pattern of conduct.
     (4) In the absence of fraud, corrupt motive, bad faith, or clear indication that the judge’s conduct
violates the code of judicial conduct, the commission shall not take action against a judge for making
findings of fact, reaching a legal conclusion, or applying the law as he understands it. Commission
proceedings shall not be a substitute for an appeal.
     (5) Grounds for discipline shall include:
     		         (a) conviction of a felony;
     		         (b) willful misconduct in office;
     		         (c) willful misconduct which, although not related to judicial duties, brings the judicial
     		         office into disrepute;
     		         (d) conduct prejudicial to the administration of justice or conduct unbecoming a judicial
     		         officer, whether conduct in office or outside of judicial duties, that brings the judicial
     		         office into disrepute; or
     		         (e) any conduct that constitutes a violation of the codes of judicial conduct or
     		         professional responsibility.

SECTION 3. Report; appropriations; offices; rules; immunity; executive director; proceedings

		       (1) The commission shall report only to the supreme judicial court. The commission shall be
allowed for its purposes annually such amount as shall be appropriated for it by the general court. The
commission shall be provided with adequate offices. The commission may adopt rules of procedure,
without compliance with the provisions of chapter thirty A, but subject to the approval of the supreme
judicial court, and may develop appropriate forms for its proceedings. Such rules shall establish rea-
sonable time limits for all stages of commission proceedings and standards for extending time limits
applicable to commission proceedings.
		       (2) Members of the commission, hearing officers, commission counsel, and staff shall be ab-
solutely immune from suit for all conduct in the course of their official duties. A complaint submitted
to the commission or its staff and communications related to the complaint shall be absolutely privi-
leged, and no civil action predicated on the complaint or on such a communication may be instituted
against any complainant or witness or his counsel; provided, however, such immunity from suit shall
apply only to communications to the commission or its staff and shall not apply to public disclosure
of information contained in or relating to the complaint.
      	 (3) The commission shall appoint an executive director who shall serve at the pleasure of the
commission. The executive director shall be a member of the Massachusetts bar, shall serve full time,
and shall not engage in the practice of law. The executive director shall receive an annual salary, sub-
ject to appropriation, which is fixed by the commission consistent with classification and compensa-
tion policies of the supreme judicial court, and such expenses as are approved by the commission and
incurred in the discharge of the executive director’s duties.
      	 (4) The executive director shall have duties and responsibilities as prescribed by the commis-
sion, including the authority to:
      		        (a) receive information, allegations, and complaints;
      		        (b) make preliminary evaluations;
      		        (c) screen complaints;
      		        (d) conduct investigations;
      		        (e) recommend dispositions;
      		        (f) maintain the commission’s records;
      		        (g) maintain statistics concerning the operation of the commission and make them
      		        available to the commission and to the supreme judicial court;

                                     Ex. A, p. 24 of 91.                                                     17
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 25 of 91
      Massachusetts General Laws
           		        (h) prepare the commission’s budget for approval by the commission and administer
           		        its funds;
           		        (i) employ and supervise other members of the commission’s staff;
           		        (j) prepare the annual report of the commission’s activities required pursuant to
           		        section four; and
           		        (k) employ, with the approval of the commission and subject to appropriation,
           		        special counsel, private investigators, or other experts, and clerical assistants, as
           		        necessary to investigate and process matters before the commission and before the
           		        supreme judicial court. Neither the attorney general’s staff nor law enforcement
           		        officers shall be employed for this purpose.
           	 (5) The supreme judicial court may delegate the power to enforce process in commission pro-
      ceedings to another appropriate court. A witness at any stage of commission proceedings may rely on
      any privilege applicable to civil proceedings.

      SECTION 4. Annual report

      	       The commission shall submit annually to the general court and the supreme judicial court a
      report of its activities together with recommendations. This report shall be a matter of public record
      and shall be printed as a public document.

      SECTION 5. Initiation of proceedings; inquiry, investigation and evaluation; detailed complaint
      or statement of allegations; formal charges

      	       (1) Commission proceedings relating to the conduct of a judge may be initiated by an oral or
      written complaint stating facts that, if true, would be grounds for discipline, or by the commission’s
      own motion when the commission receives reasonable information, including reports in the news
      media, as to conduct that appears to constitute grounds for discipline. Upon receipt of such complaint
      or adoption of such motion, the commission shall promptly notify the judge, except as provided in
      subdivision (2), and shall conduct a prompt, discreet and confidential inquiry, investigation and evalu-
      ation.
      	       (2) The commission shall notify the judge of the proceedings and their subject matter before
      commencing any inquiry, investigation or evaluation in all cases except as follows:
      		             (a) where, because of the nature of the complaint, delay is necessary in order to
      		             preserve evidence, notice may be delayed until such evidence is obtained, until the
      		             matter is dismissed, or until the sworn complaint or statement of allegations is
      		             served pursuant to subdivision (6), whichever occurs first;
      		             (b) where the identity of the complainant could be readily determined by the judge
      		             from the nature of the complaint and there is a danger of reprisal against the
      		             complainant, notice may be delayed until the danger of reprisal ends, until the
      		             matter is dismissed, or until the sworn complaint or statement of allegations is
      		             served pursuant to subdivision (6), whichever occurs first; provided, however, that
      		             in any such case where there is an ongoing danger of reprisal, the notice and the
      		             statement of allegations may be drafted so as to conceal the complainant’s
      		             identity.
      	       (3) The commission shall discourage and shall promptly dismiss complaints which are frivo-
      lous, unfounded or outside commission jurisdiction. The commission shall notify the judge and the
      complainant, if any, of such dismissal in accordance with the provisions of subdivisions (1), (2) and
      (10).	

18	                                        Ex. A, p. 25 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 26 of 91
                                                                   Massachusetts General Laws
	(4) At any stage of the proceeding, the commission shall be entitled within the time limits
established by commission rule to compel by subpoena the attendance and testimony of witnesses,
including the judge, and to provide for the inspection of documents, books, accounts, and other records.
	       (5) After a thorough inquiry, investigation and evaluation, the executive director shall recom-
mend to the commission, and the commission shall determine, by majority vote, whether there is ad-
equate reason to proceed to the preparation of a detailed complaint or statement of allegations. If so,
the commission shall request that the complainant file a detailed sworn complaint against the judge.
When a sworn complaint is not obtained, the executive director shall prepare a clear statement of the
allegations against the judge and the alleged facts forming their basis. Said complaint or statement
of allegations shall clearly set forth each act of misconduct where more than one act of misconduct is
alleged, and shall state clearly the provision of statute, code of judicial conduct or code of professional
responsibility alleged to have been violated by each alleged act of misconduct.
	       (6) The judge shall be served promptly with a copy of the sworn complaint or statement of
allegations.
	       (7) The judge shall have twenty-one days after receipt of the sworn complaint or statement of
allegations to respond in writing to the charges and, if he wishes, to file a written request for a personal
appearance before the commission.
	       (8) The judge shall be entitled to counsel of his own choice. After the judge is served with the
sworn complaint or statement of allegations, he shall be entitled before the issuance of formal charges
and within the time limits established by commission rule to compel by subpoena the attendance and
testimony of witnesses, through depositions, and to provide for the inspection of documents, books,
accounts, written or electronically recorded statements, and other records. The judge may file written
material for commission consideration before the issuance of formal charges.
	       (9) If the judge requests a personal appearance before the commission, he may be accompanied
by counsel, his statement and that of his counsel shall be recorded, and the commission shall not issue
formal charges until after such personal appearance.
	       (10) If at any time prior to the issuance of formal charges the commission determines that it
does not have sufficient cause to proceed, the commission shall terminate the proceedings by closing
the investigation or dismissing the complaint or the statement of allegations. In that event, the com-
mission shall give notice to the complainant, if any, and to the judge that it has found insufficient cause
to proceed. The file in any matter so terminated shall be closed.
	       (11) The commission may not refer subsequently to a file closed before the issuance of formal
charges except in the following circumstances:
		               (a) in a subsequent proceeding that raises similar allegations against the judge and
		               indicates a pattern of recurring judicial misconduct;
		               (b) in a subsequent proceeding alleging conduct in violation of conditions imposed
		               as part of an informal adjustment pursuant to subdivision (1) of section eight;
		               (c) in connection with a decision as to the recommended sanction to be imposed in
		               a subsequent proceeding.
	       (12) The commission may, upon notice to the judge, amend the allegations prior to a finding
of sufficient cause to issue formal charges. The judge may amend his written response or submit ad-
ditional written material for commission consideration before such finding.
	       (13) After the judge’s personal appearance pursuant to subdivision (9), if any, and after the
expiration of any time limit upon written submissions by the judge pursuant to subdivisions (8) and 	
(12), the commission shall determine whether there is sufficient cause to issue formal charges. A




                                      Ex. A, p. 26 of 91.                                                      19
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 27 of 91
     Massachusetts General Laws
     finding of sufficient cause to issue formal charges shall require the concurrence of the majority of
     all commission members that there is a preponderance of credible evidence that the judge’s conduct
     constitutes grounds for discipline.
           	 (14) When sufficient cause is found, the commission shall issue formal charges stating those
     allegations as to which sufficient cause is found. A copy of the formal statement of charges shall be
     served promptly upon the judge and the judge shall have ten days to respond. Immediately thereafter,
     a copy of such formal statement of charges and of the judge’s written response shall be filed with the
     supreme judicial court, which shall promptly appoint a hearing officer. Confidentiality shall cease
     upon this filing, as provided in section six, and after this filing the proceedings shall be governed by
     the provisions of section seven.

     SECTION 6. Confidentiality

     	        (1) Except as provided in this section, all proceedings of the commission shall be confiden-
     tial until there has been a determination of sufficient cause and formal charges have been filed with
     the supreme judicial court. The commission shall ensure that a procedure applicable to commission
     members, counsel and staff is established for enforcing confidentiality.
           	 (2) Notwithstanding the provisions of subdivision (1), the judge may waive his right to con-
     fidentiality prior to a finding of sufficient cause. In addition, in any case in which the subject matter
     becomes public, through independent sources or through a waiver of confidentiality by the judge, the
     commission may issue such statements as it deems appropriate in order to confirm the pendency of
     the investigation, to clarify the procedural aspects of the disciplinary proceedings, to explain the right
     of the judge to a fair hearing without prejudgment, or to state that the judge denies the allegations.
           	 (3) If the inquiry was initiated as a result of notoriety or because of conduct that is a matter of
     public record, and is subsequently terminated because there is insufficient cause to proceed, informa-
     tion concerning the insufficiency of cause to proceed may be released by the commission.
           	 (4) Notwithstanding any other provision of this chapter to the contrary, proceedings pursuant
     to this chapter may remain confidential, even after a finding of sufficient cause, if the judge, the com-
     mission, and the complainant, if any, all concur.
           	 (5) If any federal agency, the judicial nominating council, or any like agency for screening
     candidates for judicial appointment which succeeds the judicial nominating council, seeks informa-
     tion or written materials from the commission concerning a judge, in connection with his selection or
     appointment as a judge, information may be divulged in accordance with procedures prescribed by
     commission rule, including reasonable notice to the judge affected, unless the judge signs a waiver of
     the right to such notice. If, in connection with the assignment of a retired judge to judicial duties, the
     chief justice of the supreme judicial court or the appeals court or the chief justice of the trial court seeks
     information or written materials from the commission about the judge, information may be divulged in
     accordance with procedures prescribed by commission rule, including reasonable notice to the judge
     affected, unless the judge signs a waiver of the right to such notice.

     SECTION 7. Hearing; recommendation for discipline; attorneys’ fees

     	       (1) The commission shall schedule a hearing without undue delay after the appointment of
     the hearing officer by the supreme judicial court. The commission shall schedule the time and place
     of the hearing, and shall notify the judge and all counsel of the hearing. The judge shall be afforded
     ample opportunity to prepare for the hearing and may amend his written response to the charges.


20                                          Ex. A, p. 27 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 28 of 91
                                                                  Massachusetts General Laws
      	 (2) The judge and the commission shall each be entitled to discovery to the extent available in
civil proceedings, within the time limits provided by commission rules. The judge and the commission
shall each be entitled to compel by subpoena the attendance and testimony of witnesses, including the
judge, and to provide for the inspection of documents, books, accounts, and other records.
      	 (3) The formal hearing shall be public and shall be conducted before the hearing officer ap-
pointed by the supreme judicial court. At the hearing, all testimony shall be under oath, the rules of
evidence applicable to civil proceedings shall apply, and the judge shall be accorded due process of
law.
      	 (4) An attorney or attorneys of the commission staff, or special counsel retained for the purpose,
shall present the matter to the hearing officer. The commission shall have the burden of proving the
charges by clear and convincing evidence. The judge and the commission shall be permitted to present
evidence and cross-examine witnesses, subject to the rules of evidence applicable to civil proceedings.
      	(5) The raising of mental or physical condition as a defense constitutes a waiver of medical
privilege.
      	 (6) By leave of the commission or with the consent of the judge, the statement of charges may
be amended after commencement of the hearing only if the amendment is technical in nature and the
judge and his counsel are given adequate time to prepare a response.
      	 (7) Every hearing shall be transcribed.
      	 (8) The hearing officer shall submit to the commission and to the judge a report containing
proposed findings and recommendations, the transcripts of testimony and all exhibits. Counsel for the
judge and commission shall have twenty days after receipt of such report to submit written objections
to the findings and recommendations, and said objections shall become part of the record.
      	 (9) Before the commission reaches its decision, the judge and the complainant, if any, shall
have the right to be heard before the commission regarding its recommendation for discipline, and
their statements shall be transcribed. Such hearing shall be public, but commission deliberations re-
garding such recommendation shall be conducted in executive session. The commission shall reach
a decision on the basis of the full record within ninety days after such hearing, unless there is good
cause for delay. Its conclusions may differ from those proposed by the hearing officer. Its decision
shall state specific reasons for all conclusions and recommendations.
      	 (10) A recommendation for discipline shall be reported to the supreme judicial court only if
a majority of all members of the commission concur that discipline should be recommended. Any
dissent as to the need for or the form of discipline shall be transmitted with the majority decision.
A copy of said recommendation and dissent shall be given to the judge and shall become part of the
public record. The entire record, including transcripts, exhibits and the hearing officer’s report, shall
be transmitted to the supreme judicial court.
      	 (11) If a majority of the members of the commission concur that discipline should not be rec-
ommended, the matter shall be dismissed, and the judge and complainant, if any, shall be notified of
such dismissal.
      	 (12) The provisions of subdivisions (10) and (11) shall not be construed to prohibit the com-
mission from disposing of the matter by informal adjustment pursuant to section eight as a result of
commission deliberations regarding a recommendation for discipline.
      	 (13) The expense of witnesses shall be borne by the party that calls them unless:
      		        (a) physical or mental disability of the judge is in issue, in which case the
      		        commission shall reimburse the judge for the reasonable expenses of the
      		        witnesses whose testimony related to the disability; or
      		        (b) the supreme judicial court determines that the imposition of costs and expert
      		        witness fees will work a financial hardship or injustice upon him and orders that
      		        those fees be reimbursed.
                                      Ex. A, p. 28 of 91.                                                    21
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 29 of 91
     Massachusetts General Laws
           	 (14) All witnesses shall receive fees and expenses in the same manner as witnesses in civil
     actions before the courts. A transcript of all proceedings shall be provided to the judge without cost.
     Except as provided in subdivision (13), costs of all proceedings shall be at public expense.
           	 (15) With the approval of the supreme judicial court, a judge shall be entitled to the payment
     of reasonable attorneys’ fees by the commonwealth in any case where the matter is dismissed by the
     commission at any stage after the filing of a sworn complaint or statement of charges, where the su-
     preme judicial court determines despite a commission recommendation for discipline that no sanction
     is justified, or where the supreme judicial court determines that justice will be served by the payment
     of such fees.

     SECTION 8. Informal adjustment; sanctions

     	      (1) With the agreement of the judge, the commission may by informal adjustment dispose of
     a complaint at any stage of the proceedings by:
     		             (a) informing or admonishing the judge that his conduct is or may be cause for
     		             discipline;
     		             (b) directing professional counseling and assistance for the judge;
     		             (c) imposing conditions on the judge’s conduct; or
     		             (d) persuading a judge to retire voluntarily.
     	      (2) The commission may dismiss a sworn complaint, a statement of allegations or a formal
     statement of charges as unjustified or unfounded at any stage during the proceedings.
     	      (3) The commission may issue a private reprimand with the consent of the judge.
     	      (4) The commission may recommend to the supreme judicial court one or more of the follow-
     ing sanctions:
          		        (a) removal;
          		        (b) retirement;
          		        (c) imposition of discipline as an attorney;
          		        (d) imposition of limitations or conditions on the performance of judicial duties;
          		        (e) public or private reprimand or censure;
          		        (f) imposition of a fine;
          		        (g) assessment of costs and expenses;
          		        (h) imposition of any other sanction which is reasonable and lawful.

     SECTION 9. Charges against supreme judicial court member

     	       The chief justice and the six most senior justices of the appeals court other than the chief justice
     shall serve in the place of the supreme judicial court when charges are brought against a member of
     the supreme judicial court.

     SECTION 10. Physical or mental disabilities

     	       (1) The commission shall have authority to receive information, investigate, conduct hearings,
     and make recommendations to the court relating to mental or physical disability affecting a judge’s
     performance.
     	       (2) In carrying out its responsibilities regarding physical or mental disabilities, the commission
     shall follow the same procedures that it employs with respect to discipline for misconduct.
     	       (3) If the judge in a matter relating to physical or mental disability is not represented by counsel,
     the commission shall appoint an attorney to represent him at public expense.
22                                          Ex. A, p. 29 of 91.
             Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 30 of 91
                                                                           Massachusetts General Laws

	       (4) If a complaint involves the physical or mental condition of the judge, a denial of the alleged
condition shall constitute a waiver of medical privilege and the judge shall be required to produce his
medical records.
	       (5) If medical privilege is waived, the judge shall be deemed to have consented to a physical
or mental examination by a qualified medical practitioner designated by the commission. The report
of the medical practitioner shall be furnished to the commission and the judge.

SECTION 11. Advisory committee

	     The supreme judicial court may establish an advisory committee on the code of judicial conduct,
which may render advisory opinions to judges at their request or on its own motion.

1
    The amendments in St. 2011, c. 93, sec. 62 became effective on July 1, 2012.




                                           Ex. A, p. 30 of 91.                                               23
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 31 of 91
     Commission Rules
                      APPENDIX B
                                                            F.	 “Conditions on the Judge’s Conduct,” for
         RULES OF THE COMMISSION ON                         purposes of G.L. c.211C, section 8(1)(c), shall
             JUDICIAL CONDUCT                               include but not be limited to:
              Effective April 1, 1988                       	 (1) education;
                                                            	 (2) training;
                  SCOPE AND TITLE                           	 (3) mentoring;
     	 These rules govern the procedures of the             	 (4) foreclosing eligibility for recall;
     Commission on Judicial Conduct in the exercise         	 (5) an agreed upon press release to be issued,
     of its jurisdiction pursuant to Chapter 211C of        with no other public comment on the matter by
     the General Laws as appearing in St.1987, c. 656,      either party;
     and apply to proceedings which are initiated on        	 (6) requiring that a decision in a court case
     or after April 1, 1988. These rules shall be known     be issued by a certain date;
     and may be cited as the Rules of the Commission        	 (7) periodic status reports;
     on Judicial Conduct (R.C.J.C.). (Any proceedings       	 (8) meeting with Commission members and/
     initiated prior to April 1, 1988, shall be governed    or staff;
     by the rules which were in effect under Chapter        	 (9) writing an apology to a person or to the
     211C before April 1, 1988.)                            public;
                                                            	 (10) requiring the judge to caution the judge’s
               RULE 1. DEFINITIONS                          family members regarding misuse of their
         	                                                  relationship to the judge;
     A.	 “Anonymous Complaint” means a complaint,           	 (11) agreeing never to mediate, hear or rule
     written or oral, received by the Commission,           on any matters involving the attorneys who
     in which the identity of the complainant is not        investigated and prosecuted the matter, or their
     revealed.                                              firms;
                                                            	 (12) insuring that official audio equipment is
     B.	 “Chairman” and “Vice Chairman” refer to
                                                            recording at all times during court proceedings;
     members of the Commission elected as such by
                                                            	 (13) holding conferences on the record;
     vote of the Commission. Whenever used in these
                                                            	 (14) otherwise requiring a judge to comply
     rules, the word “Chairman” shall include, in the
                                                            with the law, the Code of Judicial Conduct and
     absence of the Chairman, the Vice Chairman or
                                                            other rules, regulations, orders and procedures.
     other member acting as Chairman.
                                                            	 (15) If the Commission finds that a condition
     C.	 “Commission” means the Commission on               not specified herein would be appropriate, the
     Judicial Conduct.                                      Commission may file under seal a request with
                                                            the Supreme Judicial Court to rule within fourteen
     D.	 “Complainant” means a person or entity             days as to whether that condition is permissible
     who has communicated to the Commission a               in this category, without disclosing the identity
     complaint against a judge. The Commission may          of the judge.
     also, in its discretion, treat as a complainant, for   		 (a) If the Court does not rule within
     purposes of notice and any other rights afforded       fourteen days, the Commission may assume that
     to a complainant under these rules, a person or        the condition is permissible in this category.
     entity who has reported judicial conduct to a third
     party, although not directly to the Commission,        G.	 “Executive Director” means the Executive
     provided that such person or entity is or was          Director of the Commission or a member of the
     directly affected by the conduct.                      Commission’s staff acting under the Executive
                                                            Director’s supervision.
     E.	 “Complaint” means any oral or written
     statement which alleges judicial misconduct or         H.	 “Judge” means a judge or justice of any court
     physical or mental disability of a judge.              of this Commonwealth.
24                                         Ex. A, p. 31 of 91.
             Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 32 of 91
                                                                                         Commission Rules
I.	 “Notoriety” means broad public knowledge.                  of the Commission, the judge in question and the
                                                               complainant shall be so notified.
J.	 “Reasonable Information” means any
information, including reports in the news media,              C.	 If a Commission member ceases to be
which comes to the attention of the Commission                 qualified for the appointment to represent the
and which contains credible allegations about a                category for which he was appointed, resigns,
judge that, if true, would constitute misconduct               or becomes permanently unable to serve for any
or disability within the jurisdiction of the                   reason, a vacancy shall occur. An appointment to
Commission under Chapter 211C.                                 fill a vacancy for the duration of the unexpired
                                                               term shall be made by the appropriate appointing
K.	 “Shall” is mandatory; “may” is permissive.                 authority forthwith.
L.	 “Special Counsel” means an attorney,                              RULE 3. ORGANIZATION OF
appointed by the Supreme Judicial Court at                                  COMMISSION
the request of the Commission, to conduct
investigations, to make recommendations to the                 A.	 A Chairman and Vice Chairman shall
Commission, and/or to present evidence at a                    be elected annually by the members of the
hearing, with respect to a complaint or charges                Commission.
against a judge, or to take any other action related
thereto which the Commission may direct.                       B.	 Meetings of the Commission shall be
                                                               held upon the call of the Chairman or the
M.	 “Statement of Allegations” means a clear                   written request of at least three members of
statement of the allegations against a judge and               the Commission. Meetings shall not be held on
the alleged facts forming their basis.                         less than three days notice; but this requirement
                                                               may be waived by consent of all the members.
N.	 “Sworn Complaint” means a detailed written                 The Chairman shall preside at meetings of the
complaint which the complainant signs under oath               Commission, and the Vice Chairman shall act in
and files, at the request of the Commission.                   the absence or disqualification of the Chairman.
Amended September 14, 1999, effective October 1, 1999;         In the absence or disqualification of both the
amended May 8, 2007, effective July 1, 2007; amended January   Chairman and the Vice Chairman, the members
29, 2015, effective March 1, 2015.
                                                               shall select one among them as acting Chairman.
RULE 2. COMPOSITION OF COMMISSION
                                                               C.	 A quorum of the Commission shall consist of
A.	 The composition of the Commission and                      five members, including at least one judge, one
terms of its members are as provided in Chapter                member of the bar who is not a judge, and one
211C.                                                          lay person who is not a member of the bar. An
                                                               affirmative vote of at least five members of the
B.	 A member of the Commission shall not                       Commission is required to dismiss, informally
participate in any proceeding in which the                     adjust, or otherwise dispose of a proceeding; to
impartiality of that member might reasonably                   issue formal charges against a judge; or to make
be questioned. Disqualification pursuant to this               recommendations to the Supreme Judicial Court
section shall be by the member involved or by                  regarding disciplinary action. A vote may be taken
affirmative vote of at least five (5) members of               by telephone when a decision is required sooner
the Commission.                                                than a meeting could be held, unless any member
	 (1)	 Upon the call of the Chairman, an alternate             objects.
member shall serve in place of a member of the
Commission who has been disqualified from                           RULE 4. JURISDICTION OF THE
participating in a Commission proceeding or is                              COMMISSION
otherwise unable to serve. Whenever an alternate
                                                       A.	 The Commission shall have the authority
member is called to serve in the place of a member
                                                       to receive information, conduct investigations
                                            Ex. A, p. 32 of 91.                                       25
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 33 of 91
     Commission Rules
     and hearings, and make recommendations to the           as to disposition shall become public, except as
     Supreme Judicial Court concerning allegations           provided in paragraph D below.
     of judicial misconduct or disability.
                                                             C.	 Where the circumstances necessitating the
     B.	 The Commission’s jurisdiction shall include         initiation of an inquiry include notoriety, or where
     the conduct of all active judges prior to, as well      the conduct in question is a matter of public
     as during, their service in judicial office and shall   record, information concerning the lack of cause
     also include the conduct of a retired judge who         to proceed may be released by the Commission.
     has been recalled.
                                                             D.	 Proceedings may remain confidential, even
             RULE 5. CONFIDENTIALITY                         after a finding of sufficient cause, if the judge,
     A.	 All proceedings prior to a determination of         the Commission, and the complainant, if any, all
     sufficient cause and the filing of formal charges       concur.
     shall be confidential.                                  E.	 If, in the course of its proceedings, the
     B.	 Records, files, and reports of the Commission       Commission becomes aware of credible evidence
     shall be confidential, and no disclosure shall be       that any person has committed a crime, the
     made, except as follows:                                Commission may report such evidence to the
     	 (1)	Upon waiver in writing by the judge at            appropriate law enforcement agency.
     any stage of the proceedings;                           RULE 6. COMMISSION PROCEEDINGS:
     	 (2)	Upon inquiry by an appointing authority               INITIAL STAGES; GENERAL
     or by a state or federal agency conducting                         PROVISIONS
     investigations on behalf of such authority in
     connection with the selection or appointment of         A.	 Initiation of Proceeding. A Commission
     judges; or upon inquiry in connection with the          proceeding relating to the conduct of a judge is
     assignment or recall of a retired judge to judicial     initiated when the Commission receives a written
     duties, by or on behalf of the assigning authority,     or oral complaint, or when the Commission by
     in which case the Commission may:                       motion creates its own complaint, on the basis of
     		 (a)	 divulge whatever information is a               reasonable information.
     matter of public record; and
     		 (b)	after obtaining the judge’s signed               B.	Screening. The Executive Director shall
     waiver, divulge other relevant information; or          cause each complaint to be screened promptly
     		 (c)	 divulge other relevant information              upon its receipt. The screening may include
     after giving written notice to the judge affected       communication with the complainant, if any, to
     of its intention to do so and allowing the judge        clarify the contents of the complaint, but shall
     seven (7) days to respond.                              not include any investigation of the allegations
     	 (3)	In cases in which the subject matter has          set forth in the complaint.
     become public, the Commission may issue such            C.	 Docketing and Notification.
     statements as it deems appropriate in order to
     confirm the pendency of the investigation, to           	 (1)	If the Executive Director determines after
     clarify the procedural aspects of the proceedings,      screening that the complaint does not set forth
     to explain the right of the judge to a fair hearing,    facts concerning a judge’s conduct which, if true,
     or to state that the judge denies the allegations;      would constitute misconduct or disability within
     	 (4)	Upon filing of formal charges, in which           the Commission’s jurisdiction, the Executive
     case only the formal charges, the answer                Director shall notify the complainant that the
     thereto, the evidentiary hearings thereon, and          complaint will not be docketed or investigated
     the final recommendation by the Commission              by the Commission.


26                                          Ex. A, p. 33 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 34 of 91
                                                                                  Commission Rules
	 (2)	If the Executive Director determines after       determines that there is good cause to investigate
screening a complaint that it alleges specific facts   the complaint, except as provided in Rule 6G,
which, if true, would constitute misconduct or         the Executive Director shall notify the judge
disability within the Commission’s jurisdiction,       of the complaint pursuant to Rule 6C(3). When
the Executive Director shall docket the complaint.     a complaint alleges a pattern of recurring
	 (3)	Except as provided in Rules 6D, 6E,              misconduct the last episode of which is alleged
6F and 6G, the Executive Director shall notify         to have occurred less than one year prior to the
the judge of the complaint promptly after it is        filing of the complaint, a determination by the
docketed. Notification shall be by certified mail      Commission of “good cause” pursuant to this
or registered mail, addressed to the judge’s last      Rule is not necessary.
known place of residence, unless the judge has
requested a different mailing address or the           F.	 Anonymous Complaints. Following the
use of regular mail. Except where notice of the        docketing of an anonymous complaint pursuant
complaint is delayed or withheld pursuant to Rule      to Rule 6C(2), the Executive Director shall not
6G, the Executive Director shall not conduct any       conduct any inquiry or investigation of it unless
inquiry into or investigation of the complaint until   the Commission, upon the recommendation of the
notice has been sent to the judge.                     Executive Director, determines by majority vote
                                                       that the allegations of the anonymous complaint
D.	 Frivolous or Unfounded Complaints. If,             would, if true, constitute misconduct or disability
on the basis of screening, the Executive Director      within the jurisdiction of the Commission, and
is of the opinion that a docketed complaint is         the seriousness or the notoriety of the misconduct
frivolous or unfounded, the Executive Director         alleged outweighs the potential prejudicial
shall promptly recommend its dismissal to the          effect of an investigation into the merits of the
Commission before notifying the judge of the           complaint. If the Commission does not make such
complaint. If a majority of the Commission votes       a determination, the complaint shall be dismissed,
to dismiss the complaint, the Executive Director       and the Executive Director shall promptly
shall promptly notify the complainant of the           notify the judge of both the complaint and its
dismissal and the judge of both the complaint          dismissal. If the Commission does make such a
and its dismissal. If a majority of the Commission     determination, except as provided in Rule 6G,
does not vote to dismiss the complaint, except         the Executive Director shall promptly notify the
as provided in Rule 6G, the Executive Director         judge of the anonymous complaint in accordance
shall promptly notify the judge of the complaint       with Rule 6C(3).
in accordance with Rule 6C(3).
                                                       G.	 Withholding Notification. If the Executive
E.	 Stale Complaints. When a complaint is              Director is of the opinion that, because of the
docketed in which the allegations arise out of         nature of the complaint or the identity of the
acts or omissions all occurring more than one          complainant, notification to the judge would
year prior to the date the complaint was filed,        create a substantial risk that evidence material
the Executive Director shall, before notifying the     to its investigation might be lost or destroyed,
judge of the complaint and before undertaking          or that there is a substantial danger of reprisal or
any inquiry or investigation of its allegations,       retaliation by the judge against the complainant
make a recommendation to the Commission as             or any other person mentioned in the complaint,
to whether there exists good cause to investigate      the Executive Director shall recommend to the
the complaint. If a majority of the Commission         Commission that notice of the complaint to
determines that there is not good cause to             the judge be delayed or that notice of certain
investigate the complaint, the complaint shall         information in the complaint be delayed. No
be dismissed without investigation, and the            inquiry or investigation into the complaint
complainant, if any, as well as the judge, shall       beyond the screening process shall take place
be so notified. If a majority of the Commission
                                      Ex. A, p. 34 of 91.                                                     27
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 35 of 91
     Commission Rules
     until the Commission has voted on the Executive       Commission may also take such action upon its
     Director’s recommendation.                            own motion.
     	 (1)	If a majority of the Commission does not
     vote to approve any delay in notifying the judge      J.	 Sworn Complaint or Statement of
     of the complaint in whole or in part, the Executive   Allegations. Within ninety (90) days after the
     Director shall promptly notify the judge of the       initiation of proceedings, the Executive Director
     complaint in accordance with Rule 6C(2).              shall recommend to the Commission whether
     	 (2)	If a majority of the Commission determines      there is adequate reason to proceed to the
     that notice to the judge of the complaint in          preparation of a Sworn Complaint or Statement
     its entirety would create a substantial risk of       of Allegations.
     lost or destroyed evidence or of reprisal, the        	 (1) The Commission shall so decide by
     Commission shall vote to approve the delay in         majority vote.
     notifying the judge of the complaint in whole         	 (2) If the Executive Director recommends
     or in part. If the Commission approves a delay        that further investigation is necessary before
     in providing notice to the judge of any portion       making this determination, the Commission may
     of the complaint, the Executive Director shall        vote to continue the investigation on a month-to-
     proceed with an investigation of the complaint        month basis.
     pursuant to Rule 6H. If the Commission approves       	 (3) If the Commission finds that there is
     a delay in providing notice to the judge of certain   sufficient cause to proceed, the complainant,
     information in the complaint such as the identity     if any, shall be asked to file a detailed, signed,
     of the complainant, the Executive Director shall      Sworn Complaint against the judge. The Sworn
     promptly notify the judge in accordance with Rule     Complaint shall state the facts constituting the
     6C(3) of all portions of the complaint for which      alleged misconduct. Immediately upon receipt
     no delay was approved before proceeding with          of the Sworn Complaint, the Executive Director
     any investigation.                                    shall make written acknowledgment thereof to
     	 (3)	Notice of a complaint may be delayed            the complainant.
     pursuant to this paragraph only until the             	 (4) When a Sworn Complaint is not obtained,
     Commission obtains the necessary evidence or          a Statement of Allegations against the judge
     the risk of reprisal ends.                            and the alleged facts forming their basis shall
     	 (4)	The Commission shall take reasonable            be prepared by the Executive Director. Where
     steps to insure that as much notice as possible       more than one act of misconduct is alleged,
     of the complaint’s allegations is provided to the     each act should be clearly set forth in the Sworn
     judge at the earliest time feasible in accordance     Complaint, or in the Statement of Allegations, as
     with this Rule.                                       the case may be.
                                                           	 (5) In any case where the judge has not yet
     H.	Investigation. Unless a complaint is dismissed     been notified of the entire complaint pursuant
     pursuant to Rule 6D, 6E or 6F, and except as          to Rule 6G, if the Commission determines by
     provided in Rule 6G, after notice is given to         majority vote that there remains an ongoing
     the judge pursuant to Rule 6C(3), the Executive       danger of reprisal, the Sworn Complaint or the
     Director shall initiate a discreet and confidential   Statement of Allegations may be drafted so as to
     investigation and evaluation of the complaint.        conceal the complainant’s identity.

     I.	 Request for Special Counsel. If in the            K.	 Same; Service. The judge shall immediately
     course of an investigation the Executive Director     be served with a copy of the Sworn Complaint or
     concludes that Special Counsel is required, the       Statement of Allegations.
     Executive Director shall recommend that the
     Commission request the appointment of a Special       L.	 Same; Answer. Within twenty-one (21) days
     Counsel by the Supreme Judicial Court. The            after the service of the Sworn Complaint or the
                                                           Statement of Allegations, the judge may file a

28                                         Ex. A, p. 35 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 36 of 91
                                                                                      Commission Rules
written answer with the Executive Director and         Q.	Privilege. A complaint submitted to the
may request a personal appearance before the           Commission or its staff, or testimony with respect
Commission, in lieu of or in addition to a written     thereto, shall be absolutely privileged. No civil
response. If the judge elects to appear personally,    action predicated on the complaint shall be
his or her statement shall be recorded.                instituted against a complainant or a witness, or
                                                       against counsel to either of them.
M.	Same; Dismissal. After the judge’s answer
and personal appearance, if any, the Commission        R.	 Recommendation Concerning Assignment.
may terminate the proceeding and dismiss the           At any time the Commission may recommend to
complaint and, in that event, shall give notice to     the Supreme Judicial Court, or to the Chief Justice
the judge and the complainant that it has found        of the Trial Court and the appropriate Chief
insufficient cause to proceed.                         Justice, the non-assignment or special assignment
                                                       of a judge, pending the final disposition of a
N.	 Same; Amendment. Amendment of the                  proceeding. The Commission shall state the
allegations regarding the misconduct of a judge,       reasons for its recommendation. A copy of
whether presented to the Commission in a Sworn         any such recommendation shall be sent by the
Complaint or in a Statement of Allegations, shall      Commission to the judge.
be permitted prior to a finding of sufficient cause,
provided that notice thereof and an opportunity        S.	Consultation. In the course of a proceeding,
further to respond within twenty-one (21) days         the Commission may consult with the Chief
is given to the judge.                                 Justice of the Trial Court and the appropriate
                                                       Chief Justice about administrative matters.
O.	 Right to Counsel. The judge shall be entitled
to counsel of the judge’s own choice.                  T.	 Record of Commission Proceedings. The
                                                       Commission shall keep a record of all proceedings
P.	 Right to Compel Attendance of Witnesses            concerning a judge. The Commission’s findings,
and Inspection of Records. At any stage of the         conclusions and recommendations shall be
proceeding, the Commission or its designee may         entered in the record.
administer oaths or affirmations and shall be
entitled to compel the attendance and testimony        U.	 Extensions of Time. The Chairman of
of witnesses, including the judge himself or           the Commission may for good cause extend
herself, and the production of papers, books,          the time for the filing of an answer, discovery,
accounts, documents, electronic recordings, other      commencement of a hearing, or transmittal of
tangible things, or any other relevant evidence or     the Hearing Officer’s report, and any other time
testimony.                                             limit set herein.
	 (1)	Upon receiving the Sworn Complaint or
Statement of Allegations, the judge shall become       V.	 Enforcement of an agreement for Informal
entitled to compel by subpoena the attendance and      Adjustment shall be by the Commission, or, upon
testimony of witnesses through depositions, and        application by the Commission to the Supreme
to provide for the inspection of documents, books,     Judicial Court, by the Court.
accounts, written or electronically-recorded           Amended September 14, 1999, effective October 1, 1999;
statements, and other records.                         amended May 8, 2007, effective July 1, 2007; amended January
                                                       29, 2015, effective March 1, 2015.
	 (2)	Witnesses may be interviewed, whether or
not under oath and whether or not their statements         RULE 7. SUFFICIENT CAUSE FOR
are memorialized, without the presence of other                 FORMAL CHARGES
participants. In other circumstances, statements
may be taken as depositions, in accordance with        A.	 Following the expiration of the twenty-one
Rule 9.                                                (21) days allowed for the judge’s response, for
                                                       any proceeding not dismissed, the Commission

                                      Ex. A, p. 36 of 91.                                                             29
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 37 of 91
     Commission Rules
     shall thereafter hold a formal meeting which shall        for its filing, a copy of the formal charges and of
     be conducted in private, at which the rules of            the judge’s written response shall be filed with
     evidence need not be observed. The judge shall            the Supreme Judicial Court, which shall promptly
     have the right to make a personal appearance              appoint a Hearing Officer.
     with his attorney, but not to be present during the
     Commission deliberations.                                 B.	 Immediately upon the appointment of a
                                                               Hearing Officer by the Supreme Judicial Court,
     B.	 At this meeting the Commission shall vote to          the Commission shall schedule a hearing to
     dispose of the case in one of the following ways:         take place in not less than thirty (30) nor more
     	 (1)	If it finds that there has been no misconduct,      than sixty (60) days. The Commission shall
     the Executive Director shall be instructed to send        immediately notify the judge and all counsel of
     the judge and the complainant notice of dismissal.        the time and place for the hearing.
     	 (2)	If it finds that there has been misconduct
     for which a private reprimand constitutes                    RULE 9. DISCOVERY DURING THE
     adequate discipline, and if the judge consents, it            FORMAL PROCEEDING STAGE
     shall issue the reprimand. The complainant shall
     be notified that the matter has been so resolved.         A.	 Attached to the notice required by Rule 7B(4)
     	 (3)	If it finds that there has been conduct that        shall be further notice that the Commission shall,
     is or might be cause for discipline but for which an      within a reasonable time, make available for
     informal adjustment is appropriate, it may, with          inspection upon the written request of the judge
     the agreement of the judge, so inform or admonish         all books, papers, records, documents, electronic
     the judge, direct professional counseling or              recordings, and other tangible things within the
     assistance for the judge, or impose conditions on         custody and control of the Commission which
     the judge’s future conduct. The complainant shall         are relevant to the issues of the disciplinary
     be notified that the matter has been so resolved.         proceeding, and any written or electronically
     When either conditions or treatment is prescribed,        recorded statements within the custody and
     the Commission shall provide for supervision,             control of the Commission which are relevant
     enforcement thereof, or both.                             to the issues of the disciplinary proceeding.
     	 (4)	If it finds by a preponderance of the               The failure of the Commission to furnish timely
     credible evidence that there is sufficient cause to       any such materials provided for herein shall not
     believe that there has been misconduct of a nature        affect the validity of any proceedings before the
     requiring a formal disciplinary proceeding, the           Commission, provided that such failure is not
     Commission shall issue formal charges against             substantially prejudicial to the judge.
     the judge. A copy of the formal charges shall be
                                                               B.	 Within thirty (30) days after service of the
     served promptly upon the judge, and the judge
                                                               formal charges, the Commission or the judge
     shall have ten (10) days to respond.
                                                               	 (1)	May upon written request to the appropriate
     	 (5)	If it finds that there has been conduct that
                                                               party prior to the hearing:
     is or might be cause for discipline and for which
                                                               		 (a)	 Have made available to him for
     direct submission to the Supreme Judicial Court
                                                               inspection and copying within a reasonable period
     is appropriate, it may, with the agreement of the
                                                               of time all books, papers, records, documents,
     judge, make a direct submission in accordance
                                                               electronic recordings, or other tangible things
     with Rule 13.
                                                               which that party intends to present at a hearing.
     Amended May 8, 2007, effective July 1, 2007.
                                                               		 (b)	Obtain the names and addresses of
        RULE 8. SCHEDULING OF FORMAL                           witnesses to the extent known to a party in the
                   HEARING                                     proceeding, including an identification of those
                                                               intended to be called to testify at the hearing.
     A.	 Upon the filing of the judge’s written response       		 (c)	 Have made available to him for
     to the formal charges or the expiration of the time       inspection and copying within a reasonable period
30                                                  Ex. A, p. 37 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 38 of 91
                                                                                    Commission Rules
of time any written or electronically recorded          the Commission shall protect against disclosure of
statements made by witnesses who will be called         the mental impressions, conclusions, opinions, or
to give testimony at the hearing.                       legal theories of an attorney or other representative
	 (2)	May, upon written application to the              of a witness or party in these proceedings.
Commission, upon such terms and conditions as
the Commission may impose:                              D.	 Other issues relative to discovery which are
		 (a)	Depose within or without the                     not covered in these rules shall be addressed
Commonwealth persons having relevant                    or resolved in accordance with the comparable
testimony. The complete record of the testimony         provisions of the Massachusetts Rules of Civil
so taken shall be made and preserved by                 Procedure.
stenographic record or electronic recording.                   RULE 10. FORMAL HEARING
			 (i)	 The written application to the
Commission shall state the name and post                A.	 The formal hearing shall be conducted before
office address of the witness, the subject matter       the Hearing Officer appointed by the Supreme
concerning which the witness is expected to             Judicial Court.
testify, the time and place of taking the deposition,
and the reason why such deposition should be            B.	 The hearing shall be open to the public. The
taken.                                                  rules of evidence applicable to civil proceedings
			 (ii)	Unless notice is waived, no                    in Massachusetts shall apply, and all testimony
deposition shall be taken except after at least         shall be under oath. Commission attorneys, or
seven (7) days notice to the other parties.             Special Counsel retained for the purpose, shall
			 (iii) Unless otherwise directed by the              present the case. The judge whose conduct is in
Commission, the deponent may be examined                question shall be permitted to adduce evidence
regarding any matter not privileged which is            and produce and cross-examine witnesses. The
relevant to the subject matter of the proceedings.      Commission shall have the burden of proving the
Parties shall have the right of cross-examination,      charges by clear and convincing evidence. Every
and objection. In making objections to questions        hearing shall be transcribed.
or evidence, the grounds relied upon shall be
                                                        C.	 The formal charges may be amended after
stated briefly, but no transcript filed by the
                                                        commencement of the public hearing only if the
notarial officer shall include argument or debate.
                                                        amendment is technical in nature and if the judge
Objections to questions or evidence shall be
                                                        and his counsel are given adequate time to prepare
noted by the notarial officer upon the deposition,
                                                        a response.
but he shall not have the power to decide on the
competency, materiality, or relevancy of evidence.      RULE 11. POST-HEARING PROCEDURE
Objections to the competency, relevancy, or
materiality of the testimony are not waived by          A.	 Within thirty (30) days after the conclusion of
failure to make them before or during the taking        the hearing, the Hearing Officer shall submit to the
of the deposition.                                      Commission and to the judge a report which shall
		 (b)	Subpoena relevant witnesses and                  contain proposed findings and recommendations,
documents.                                              the transcripts of testimony, and all exhibits.
		 (c)	 Seek any limitation or protection for
                                                        B.	 Upon receipt of the report of the Hearing
any discovery permitted by this rule.
                                                        Officer, the Commission shall send a copy of the
C.	 Nothing in these rules shall be construed           report to the complainant forthwith.
to require the discovery of any report made to
                                                        C.	 Within twenty (20) days after receipt of
the Commission by Special Counsel or other
                                                        such report, counsel for the judge and for the
person conducting an investigation for the
                                                        Commission shall each be allowed to submit
Commission. Furthermore, in granting discovery
                                                        to the Commission written objections to the
                                       Ex. A, p. 38 of 91.                                                      31
                Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 39 of 91
     Commission Rules                                        		
     proposed findings and recommendations. Any              C.	 In the event of a waiver of medical privilege,
     such objections shall become part of the record.        the judge shall be deemed to have consented to an
                                                             examination by a qualified medical practitioner
     D.	 Within the same twenty (20) day period the          designated by the Commission. The report of
     judge and the complainant, if any, may file a           the medical practitioner shall be furnished to the
     written request to be heard before the Commission       Commission and the judge.
     regarding its recommendation for discipline.

     E.	 If either participant does so request, notice       RULE 13. DIRECT SUBMISSION TO THE
     shall be given to both as to the scheduled time             SUPREME JUDICIAL COURT
     and place for such hearing, at least seven (7)          	 At any stage of a proceeding the Commission
     days in advance. Such hearing shall be public,          may, with the agreement of the judge, elect one
     but Commission deliberations regarding such             of the following methods for direct submission
     recommendation shall be conducted in executive          to the Supreme Judicial Court.
     session.
                                                             A.	 Final Submission Upon Agreed Facts.
     F.	 Unless there is good cause for delay, the
     Commission shall reach a decision on the basis          	 (1)	The Commission and the judge will
     of the full record within ninety (90) days after        prepare and sign an Agreement for Final
     the hearing concerning recommendation for               Submission to the Supreme Judicial Court Upon
     discipline, if there is such a hearing, or otherwise    Agreed Facts. The Agreement will contain:
     within ninety (90) days after receipt of the            		 (a)	 A waiver by the judge of the right to
     Hearing Officer’s report. Its conclusions may           a formal hearing.
     differ from those proposed by the Hearing Officer.      		 (b)	A stipulation by the judge to facts
     Its decision shall state specific reasons for all       sufficient, in the judgment of the Commission,
     conclusions and recommendations.                        to establish judicial misconduct.
           RULE 12. CASES INVOLVING                          		 (c)	A statement of the section(s) of the
          ALLEGATIONS OF MENTAL OR                           Code of Judicial Conduct which the Commission
             PHYSICAL DISABILITY                             alleges, and the judge agrees, the judge has
                                                             violated.
     	 In considering allegations of mental or               		 (d)	Statements by the Commission
     physical disability, the Commission shall, insofar      and by the judge of their joint or disparate
     as applicable and except as provided below              recommendations for discipline by the Supreme
     pursuant to Chapter 211C, section 10, follow            Judicial Court.
     procedures established by these rules.                  		 (e)	 Agreement by the Commission and
                                                             the judge that the Supreme Judicial Court may
     A.	 If in a matter relating to mental or physical       accept or reject the recommendations of the
     disability the judge is not represented by counsel,     Commission or the judge or may impose whatever
     the Commission shall appoint an attorney to             discipline it deems appropriate.
     represent him at public expense.                        		 (f)	 Acknowledgment by the Commission
                                                             and the judge that the decision of the Supreme
     B.	 If a complaint or statement of allegations
                                                             Judicial Court will constitute the final disposition
     involves the mental or physical health of a judge,
                                                             of the case. 			
     a denial of the alleged disability or condition shall
                                                             		 (g)	A waiver by the judge of any
     constitute a waiver of medical privilege and the
                                                             confidentiality rights that would preclude
     judge shall be required to produce his medical
                                                             submission of the matter to, or disclosure of the
     records.
                                                             matter by, the Supreme Judicial Court, including
                                                             the items to be submitted as specified herein, and

32                                          Ex. A, p. 39 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 40 of 91
                                                                                     Commission Rules
the Supreme Judicial Court’s disposition of the      Commission will proceed to consider and dispose
case.                                                of the complaint in accordance with these Rules,
	 (2)	The Commission will submit to the              which disposition may include issuance of formal
Supreme Judicial Court under seal:                   charges.
		 (a)	 The Agreement for Final Submission           		 (f)	 A waiver by the judge of any
Upon Agreed Facts.                                   confidentiality rights that would preclude
		 (b)	A copy of the complaint, statement            submission of the matter to the Supreme Judicial
of allegations and formal charges, if any, and all   Court, including the items to be submitted as
responses.                                           specified herein.
		 (c)	 Any other information agreed to by           		 (g)	Agreement by the Commission and
the parties.                                         the judge that the submission will be made on
	 (3)	The Supreme Judicial Court may accept          condition that it be impounded by the Supreme
or reject the recommendation of either the           Judicial Court.
Commission or the judge or may impose whatever       	 (2)	The Commission will submit to the
discipline it deems appropriate.                     Supreme Judicial Court:
                                                     		 (a)	The Agreement for Conditional
B.	 Conditional Submission Upon                      Submission Upon Acknowledged Evidence.
Acknowledged Evidence.                               		 (b)	A copy of the complaint, statement
                                                     of allegations and formal charges, if any, and all
	 (1)	The Commission and the judge will              responses.
prepare and sign an Agreement for Conditional        		 (c)	 Any other information agreed to by
Submission to the Supreme Judicial Court Upon        the parties.
Acknowledged Evidence. The Agreement will            	 (3)	The Supreme Judicial Court may accept
contain:                                             or reject the recommended discipline agreed to
		 (a)	 A waiver by the judge of the right to        by the Commission and the judge but may not at
a formal hearing.                                    this stage impose other discipline.
		 (b)	A Statement of Evidence which in the
Commission’s view provides a basis for a finding     C.	 The Supreme Judicial Court may request
of misconduct. The Statement of Evidence will        additional information from the parties or
identify the section(s) of the Code of Judicial      schedule oral argument before acting on a final
Conduct which the Commission alleges the judge       or conditional submission.
to have violated.
		 (c)	 An acknowledgment by the judge               D.	 If the Commission and the judge fail to agree
that the evidence set forth in the Statement of      upon an Agreement for Final or Conditional
Evidence, if presented to and accepted by a          Submission to the Supreme Judicial Court under
Hearing Officer at a formal hearing as clear and     either 13.A. or 13.B. above, the Commission will
convincing, would support a finding of such          proceed to consider and dispose of the complaint
misconduct.                                          in accordance with these Rules, which disposition
		 (d)	A recommendation to the Supreme               may include issuance of formal charges.
Judicial Court, agreed to by both the Commission     Approved May 8, 2007, effective July 1, 2007.
and the judge regarding appropriate discipline. 	
		 (e)	 Agreement by the Commission and
the judge that (i) if the Supreme Judicial Court
accepts their agreed recommendation for
discipline, the decision of the Supreme Judicial
Court will constitute the final disposition of the
case; and (ii) if the Supreme Judicial Court does
not accept their agreed recommendation, the

                                     Ex. A, p. 40 of 91.                                                  33
     Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 41 of 91




34                       Ex. A, p. 41 of 91.
Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 42 of 91




                         APPENDIX C


               CODE OF JUDICIAL CONDUCT

               (Supreme Judicial Court Rule 3:09)

                   (effective January 1, 2016)




                    Ex. A, p. 42 of 91.                           35
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 43 of 91
     Code    of   Judicial Conduct
                                                   PREAMBLE

     	        [1] An independent, fair, and impartial judiciary is indispensable to our system of justice. The
     United States legal system is based upon the principle that an independent, impartial, and competent
     judiciary, composed of persons of integrity, will interpret and apply the law that governs our society.
     Thus, the judiciary plays a central role in preserving the principles of justice and the rule of law. Inher-
     ent in all the Rules in this Code are the precepts that judges, individually and collectively, must respect
     and honor the judicial office as a public trust and must strive to maintain and enhance confidence in
     the legal system.

     	        [2] Judges should maintain the dignity of judicial office at all times, and avoid both impropri-
     ety* and the appearance of impropriety* in their professional and personal lives. They should aspire
     at all times to conduct that ensures the greatest possible public confidence in their independence,*
     impartiality,* integrity,* and competence.

     	       [3] The Code of Judicial Conduct establishes standards for the ethical conduct of judges. It is
     not intended as an exhaustive guide for the conduct of judges, who are governed in their judicial and
     personal conduct by general ethical standards as well as by the Code. The Code is intended, however,
     to provide guidance and to assist judges to maintain the highest standards of judicial and personal
     conduct, and to provide a basis for regulation of their conduct through disciplinary authorities.




36                                         Ex. A, p. 43 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 44 of 91
                                                                      Code     of   Judicial Conduct
                                                 SCOPE

	      [1] The Code of Judicial Conduct consists of four Canons, numbered Rules under each Canon,
and Comments that follow and explain each Rule. Scope and Terminology sections provide additional
guidance in interpreting and applying the Code. An Application section establishes when the various
Rules apply to a judge.

	       [2] The Canons state overarching principles of judicial ethics that all judges must observe. Al-
though a judge may be disciplined only for violating a Rule, the Canons provide important guidance
in interpreting the Rules. Where a Rule contains a permissive term, such as “may” or “should,” the
conduct being addressed is committed to the personal and professional discretion of the judge, and no
disciplinary action should be taken for action or inaction within the bounds of such discretion.

	       [3] The Comments that accompany the Rules serve two functions. First, they provide guidance
regarding the purpose, meaning, and proper application of the Rules. They include explanatory material
and, in some instances, provide examples of permitted or prohibited conduct. Comments neither add to
nor subtract from the binding obligations set forth in the Rules. Therefore, when a Comment includes
the term “must,” it does not mean that the Comment itself is binding or enforceable; it signifies that
the Rule in question, properly understood, is obligatory as to the conduct at issue.

	       [4] Second, the Comments identify aspirational goals for judges. To implement fully the prin-
ciples of this Code as articulated in the Canons, judges should strive to exceed the standards of conduct
established by the Rules, holding themselves to the highest ethical standards and seeking to achieve
those aspirational goals, thereby enhancing the dignity of the judicial office.

	       [5] The Rules of the Code of Judicial Conduct are rules of reason that should be applied con-
sistently with constitutional requirements, statutes, other court rules, and decisional law, and with due
regard for all relevant circumstances. The Rules should not be interpreted to impinge upon the essential
independence* of judges in making judicial decisions.

	       [6] Although the black letter of the Rules is binding and enforceable, it is not contemplated that
every transgression will result in the imposition of discipline. Some conduct that literally may violate
a Rule may not violate the policy behind the prohibition, or the violation may be de minimis. Whether
discipline should be imposed should be determined through a reasonable and reasoned application
of the Rules, and should depend upon factors such as the seriousness of the transgression, the facts
and circumstances that existed at the time of the transgression, the extent of any pattern of improper
activity, whether there have been previous violations, and the effect of the improper activity upon the
judicial system or others.

	      [7] The Code is not designed or intended to be a basis for civil or criminal liability. Neither is it
intended to be the basis for litigants to seek collateral remedies against each other or to obtain tactical
advantages in proceedings before a court.




                                      Ex. A, p. 44 of 91.                                                      37
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 45 of 91
     Code    of   Judicial Conduct
                                                TERMINOLOGY

     Whenever any term listed below is used in the Code, it is followed by an asterisk (*).

     	       “Close personal friend” means a friend whose relationship to the judge is such that the friend’s
     appearance or interest in a proceeding pending* or impending* before the judge would require dis-
     qualification of the judge. See Rule 3.13.

     	      “Court personnel” means court employees subject to the judge’s direction and control. See
     Rules 2.3, 2.5, 2.8, 2.9, 2.10, 2.11, 2.12, 2.13, and 3.5.

     	       “Domestic partner” means a person with whom another person maintains a household and an
     intimate relationship, other than a person to whom he or she is legally married. See Rules 2.11, 2.13,
     and 3.l3.

     	      “Economic interest” means ownership of more than a de minimis legal or equitable interest.
     Unless the judge participates in the management of such a legal or equitable interest, or the interest
     could be substantially affected by the outcome of a proceeding before a judge, it does not include:

     	      (1) an interest in the individual holdings within a mutual or common investment fund;

     	       (2) an interest in securities held by an educational, religious, charitable, fraternal, or civic
     organization in which the judge or the judge’s spouse, domestic partner,* parent, or child serves as a
     director, an officer, an advisor, or other participant;

     	      (3) a deposit in a financial institution or deposits or proprietary interests the judge may maintain
     as a member of a mutual savings association or credit union, or similar proprietary interests; or

     	      (4) an interest in government securities held by the judge.

     See Rules 1.3, 2.11, and 3.2.

     	        “Fiduciary” includes relationships such as executor, administrator, trustee, guardian, attorney
     in fact, or other personal representative. See Rules 2.11, 3.2, and 3.8.

     	     “Fundraising event” means an event for which the organizers’ chief objectives include raising
     money to support the organization’s activities beyond the event itself. See Rule 3.7.

     	       “Impartial,” “impartiality,” and “impartially” mean absence of bias or prejudice in favor
     of, or against, particular parties or classes of parties or their representatives, as well as maintenance
     of an open mind in considering issues that may come before a judge. See Rules 1.2, 2.2, 2.10, 2.11,
     2.13, 3.1, 3.4, 3.6, 3.7, 3.12, 3.13, 3.14, and 4.1.

     	       “Impending matter” is a matter that is imminent or expected to occur in the near future. A
     matter is impending if it seems probable that a case will be filed, if charges are being investigated, or
     if someone has been arrested although not yet charged. See Rules 2.9, 2.10, 3.2, and 3.13.



38                                         Ex. A, p. 45 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 46 of 91
                                                                     Code    of   Judicial Conduct
“Impropriety” means conduct that violates the law,* including provisions of this Code, conduct that
constitutes grounds for discipline under G. L. c. 211C, § 2(5) , and conduct that undermines a judge’s
independence,* integrity,* or impartiality.* See Rules 1.2, 2.10, and 3.13.

“Independence” means a judge’s freedom from influences or controls other than those established by
law.* See Rules 1.2, 2.7, 2.10, 3.1, 3.2, 3.4, 3.7, 3.12, and 3.13.

“Integrity” means probity, fairness, honesty, uprightness, and soundness of character. See Rules 1.2,
2.7, 2.10, 2.15, 3.1, 3.2, 3.4, 3.7, 3.12, and 3.13.

“Judicial applicant” means any person who has submitted an application for appointment as a judge
in any court of the Commonwealth. See Rule 2.11.

“Judicial nominee” means any person who has been nominated by the Governor to judicial office
but who has not assumed judicial office. See Rule 2.11.

“Knowingly,” “knowledge,” “known,” and “knows” mean actual knowledge of the fact in question.
A person’s knowledge may be inferred from circumstances. See Rules 1.3, 2.5, 2.9, 2.11, 2.15, 2.16,
3.3, 3.5, and 3.6.

“Law” includes court rules and standing orders issued by the Supreme Judicial Court, the Appeals
Court, the Chief Justice of the Trial Court, or a Chief Justice of a Trial Court Department, as well as
statutes, constitutional provisions, and decisional law. Chapter 268A §§ 3 and 23(b)(2) provide that
conduct explicitly recognized by another statute or regulation may supersede certain provisions of
Chapter 268A . The Rules of the Supreme Judicial Court are considered regulations for this purpose.
In several instances, provisions of this Code supersede provisions of Chapter 268A . See Rule 1.1.

“Member of the judge’s family” means any of the following persons: a spouse or domestic partner*;
a child, grandchild, parent, grandparent, or sibling, whether by blood, adoption, or marriage; or another
relative or person with whom the judge maintains a close family-like relationship. Residence in the
household of a judge may be relevant but is not dispositive when determining whether a judge main-
tains a close family-like relationship with another relative or person. See Rules 3.7, 3.8, 3.10, and 4.1.

“Member of the judge’s family residing in the judge’s household” means any of the following
persons who resides in the judge’s household: a relative by blood, adoption, or marriage; a domestic
partner*; or a person with whom the judge maintains a close family-like relationship. See Rules 2.11
and 3.13.

“Nonpublic information” means information that is not available to the public. Nonpublic informa-
tion includes information that is sealed or expunged by statute or court order, or information that is
impounded or communicated in camera. See Rule 3.5.

“Pending matter” is a matter that has commenced. A matter continues to be pending through any
appellate process until final disposition. See Rules 2.9, 2.10, 3.2, and 3.13.




                                     Ex. A, p. 46 of 91.                                                     39
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 47 of 91
     Code    of   Judicial Conduct
     “Political organization” means a political party or other group, the principal purpose of which is to
     further the election or appointment of candidates to political office or the passage or defeat of ballot
     questions. See Rule 4.1.

     “Specialty court” means a specifically designated court session that focuses on individuals with un-
     derlying medical, mental health, substance abuse, or other issues that contribute to the reasons such
     individuals are before the courts. Specialty court sessions integrate treatment and services with judicial
     case oversight and intensive court supervision. Examples include drug courts, mental health courts,
     veterans’ courts, and tenancy preservation programs. See Rule 2.9.

     “Substantial value” means a dollar value determined by the State Ethics Commission in 930 C.M.R.
     5.05 pdf format of 930 CMR 5 . See Rules 3.13 and 3.15.

     “Third degree of relationship” includes the following persons: great-grandparent, grandparent, par-
     ent, uncle, aunt, brother, sister, child, grandchild, great-grandchild, nephew, and niece. See Rule 2.11.




40                                        Ex. A, p. 47 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 48 of 91
                                                                     Code    of   Judicial Conduct
                                           APPLICATION

The Application section establishes when the various Rules apply to a judge.

I. 	    Applicability of this Code

	      (A) Active Judges: The provisions of the Code apply to all judges of the Trial Court, the
Appeals Court, and the Supreme Judicial Court until resignation, removal, or retirement, except
as provided in Paragraph (B) below.

	       (B) Retired Judges: A judge whose name has been placed upon the list of retired judges
eligible to perform judicial duties, pursuant to G. L. c. 32, §§ 65E - 65G, shall comply with all
provisions of this Code during the term of such eligibility.

II. 	   Time for Compliance

	      A person to whom this Code becomes applicable shall comply immediately with all its
provisions except Rules 3.8 and 3.11(B), and shall comply with those sections as soon as reason-
ably possible and in any event within one year.

Comment

	       [1] A judge who has retired or resigned from judicial office shall not, for a period of six months
following the date of retirement, resignation, or most recent service as a retired judge pursuant to G.
L. c. 32, §§ 65E - 65G, perform dispute resolution services with a court-connected program except on
a pro bono publico basis, or enter an appearance, or accept an appointment to represent any party, in
any court of the Commonwealth.

	      [2] Judges should be aware that their conduct prior to assuming judicial office may have con-
sequences under the law.* See, e.g., G. L. c. 211C, § 2(2) , Rule 2.11(A)(4).

	       [3] This Code does not apply to judicial applicants* and judicial nominees.* Historically, by
Executive Order, the Governor of the Commonwealth has created a code of conduct for judicial ap-
plicants* and judicial nominees.*

	       [4] An active judge who becomes an applicant or candidate for a different judicial office, state
or federal, must comply with the requirements of any appointing authority in addition to this Code.




                                     Ex. A, p. 48 of 91.                                                     41
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 49 of 91
     Code   of   Judicial Conduct
                                   CANON 1:
     A JUDGE SHALL UPHOLD AND PROMOTE THE INDEPENDENCE,* INTEGRITY,* AND
     IMPARTIALITY* OF THE JUDICIARY, AND SHALL AVOID IMPROPRIETY* AND THE
                         APPEARANCE OF IMPROPRIETY.*

     Rule 1.1 Compliance with the Law

     A judge shall comply with the law,* including the Code of Judicial Conduct.

     Comment

     	        [1] A judge’s obligation to comply with the law* ordinarily includes the obligation to comply
     with the State conflict of interest law, G. L. c. 268A and c. 268B. However, the unique role of judges
     requires that judges on occasion follow rules that may be more or less restrictive than those followed
     by other public employees. In many instances, this Code imposes more stringent restrictions on judges’
     activities because of their obligation to act at all times in a manner that promotes public confidence
     in the judiciary. Thus, for example, the Code regulates aspects of a judge’s personal conduct, includ-
     ing a judge’s participation in extrajudicial activities unrelated to the law,* and prohibits judges from
     political and campaign activities open to many other public employees. See, e.g., Rules 3.7 and 4.1.
     However, in a few instances, this Code creates exemptions from particular restrictions imposed by G.
     L. c. 268A §§ 3 and 23(b)(2) so that judges may more fully participate in activities related to the law,*
     the legal system, and the administration of justice. See, e.g., Rules 3.1(E) and 3.13(D)-(E).

     Rule 1.2 Promoting Confidence in the Judiciary

     A judge shall act at all times in a manner that promotes public confidence in the independence,*
     integrity,* and impartiality* of the judiciary, and shall avoid impropriety* and the appearance
     of impropriety.*

     Comment

     	       [1] Public confidence in the judiciary is eroded by improper conduct and conduct that creates
     the appearance of impropriety.* This principle applies to both the professional and personal conduct
     of a judge.

     	      [2] A judge should expect to be the subject of public scrutiny that might be viewed as burden-
     some if applied to other citizens, and must accept the restrictions imposed by the Code.

     	         [3] Conduct that compromises or appears to compromise the independence,* integrity,* or
     impartiality* of a judge undermines public confidence in the judiciary. Because it is not practicable to
     list all such conduct, the Rule is necessarily cast in general terms.

     	        [4] A judge is encouraged to participate in activities that promote ethical conduct among judges
     and lawyers, support professionalism within the judiciary and the legal profession, and promote access
     to justice for all.




42                                        Ex. A, p. 49 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 50 of 91
                                                                      Code    of   Judicial Conduct
	       [5] Improprieties include violations of law* or this Code, or other conduct for which the judge
could be disciplined pursuant to G. L. c. 211C, § 2(5). The test for appearance of impropriety* is
whether the conduct would create in reasonable minds a perception that the judge violated this Code
or engaged in other conduct that reflects adversely on the judge’s honesty, impartiality,* temperament,
or fitness to serve as a judge.

	        [6] A judge is encouraged to initiate and participate in appropriate community outreach ac-
tivities for the purpose of promoting public understanding of and confidence in the administration of
justice. In conducting such activities, the judge must act in a manner consistent with this Code. See,
e.g., Rules 3.1 and 3.7.

Rule 1.3 Avoiding Abuse of the Prestige of Judicial Office

A judge shall not abuse the prestige of judicial office to advance the personal or economic inter-
ests* of the judge or others, or allow others to do so.

Comment

	       [1] It is improper for a judge to use or attempt to use the judge’s position to gain personal
advantage or preferential treatment of any kind. For example, a judge must not refer to the judge’s
judicial status to gain favorable treatment in encounters with traffic officials. Similarly, a judge must
not use judicial letterhead to gain an advantage in conducting personal business.

	       [2] A judge may provide an educational or employment reference or recommendation for an
individual based on the judge’s personal knowledge.* The judge may use official letterhead and sign
the recommendation using the judicial title if the judge’s knowledge* of the applicant’s qualifica-
tions arises from observations made in the judge’s judicial capacity. The recommendation may not be
accompanied by conduct that reasonably would be perceived as an attempt to exert pressure on the
recipient to hire or admit the applicant. Where a judge’s knowledge* of the applicant’s qualifications
does not arise from observations made in the judge’s judicial capacity, the judge may not use official
letterhead, court email, or the judicial title, but the judge may send a private letter stating the judge’s
personal recommendation. The judge may refer to the judge’s current position and title in the body of
the private letter only if it is relevant to some substantive aspect of the recommendation.

	       Court hiring policies may impose additional restrictions on recommendations for employment
in the judicial branch, and the law* may impose additional restrictions on recommendations for em-
ployment in state government. See, e.g., G. L. c. 66, § 3A ; G. L. c. 276, § 83; G. L. c. 211B, § 10(D).
See also Trial Court Personnel Policies and Procedures Manual, § 4.000, et seq. See Rule 3.3 for in-
stances when a judge is asked to provide a character reference on behalf of a bar applicant or provide
information for a background investigation in connection with an application for public employment
or for security clearance.

	       [3] Judges may participate in the process of judicial selection by cooperating with screening,
nominating, appointing, and confirming authorities. Judges may make recommendations to and respond
to inquiries from such entities concerning the professional qualifications of a person being considered
for judicial office. Judges also may testify at confirmation hearings.



                                      Ex. A, p. 50 of 91.                                                     43
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 51 of 91
     Code    of   Judicial Conduct
     	       [4] Special considerations arise when judges write or contribute to publications of for-profit
     entities, whether related or unrelated to the law.* A judge should not permit anyone associated with the
     publication of such materials to exploit the judge’s office in a manner that violates this Rule or other
     applicable law.* In contracts for publication of a judge’s writing, the judge should retain sufficient
     control over the advertising to avoid such exploitation.

                                   CANON 2:
     A JUDGE SHALL PERFORM THE DUTIES OF JUDICIAL OFFICE IMPARTIALLY,* COM-
                          PETENTLY, AND DILIGENTLY

     Rule 2.1 Giving Precedence to the Duties of Judicial Office

     The duties of judicial office, as prescribed by law,* shall take precedence over all of a judge’s
     personal and extrajudicial activities.

     Comment

     	      [1] To ensure that judges are available to fulfill their judicial duties, judges must conduct their
     personal and extrajudicial activities to minimize the risk of conflicts that would result in frequent
     disqualification. See Canon 3.

     	       [2] Although it is not a duty of judicial office unless prescribed by law,* judges are encouraged
     to participate in activities that promote public understanding of and confidence in the justice system.
     See Rule 3.7.

     	       [3] With respect to time devoted to personal and extrajudicial activities, this Rule must be con-
     strued in a reasonable manner. Family obligations, illnesses, and emergencies may require a judge’s
     immediate attention. Attending to those obligations and situations is not prohibited by this Rule.

     Rule 2.2 Impartiality and Fairness

     A judge shall uphold and apply the law,* and shall perform all duties of judicial office fairly and
     impartially.*

     Comment

     	     [1] To ensure impartiality* and fairness to all parties, a judge must be objective and open-
     minded.

     	       [2] Although each judge comes to the bench with a unique background and personal philosophy,
     a judge must interpret and apply the law* without regard to whether the judge approves or disapproves
     of the law* in question.

     	       [3] When applying and interpreting the law,* a judge sometimes may make good faith errors
     of fact or law.* Errors of this kind do not violate this Rule. In the absence of fraud, corrupt motive,
     or clear indication that the judge’s conduct was in bad faith or otherwise violates this Code, it is not



44                                        Ex. A, p. 51 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 52 of 91
                                                                      Code     of   Judicial Conduct
a violation for a judge to make findings of fact, reach legal conclusions, or apply the law as the judge
understands it.

	       [4] It is not a violation of this Rule for a judge to make reasonable accommodations to ensure
self-represented litigants are provided the opportunity to have their matters fairly heard. See Rule
2.6(A).

Rule 2.3 Bias, Prejudice, and Harassment

(A) A judge shall perform the duties of judicial office, including administrative duties, without
bias, prejudice, or harassment.

(B) A judge shall not, in the performance of judicial duties, by words or conduct manifest bias
or prejudice or engage in harassment, including bias, prejudice, or harassment based upon a
person’s status or condition. A judge also shall not permit court personnel* or others subject to
the judge’s direction and control to engage in such prohibited behavior.

(C) A judge shall require lawyers in proceedings before the court to refrain from manifesting bias
or prejudice or engaging in harassment against parties, witnesses, lawyers, or others, including
bias, prejudice, or harassment based upon a person’s status or condition.

(D) This rule does not preclude judges or lawyers from making legitimate reference to a person’s
status or condition when it is relevant to an issue in a proceeding.

Comment

	       [1] A judge who manifests bias or prejudice or engages in harassment in a proceeding impairs
the fairness of the proceeding and brings the judiciary into disrepute. A judge must avoid words or
conduct that may reasonably be perceived as manifesting bias or prejudice or engaging in harassment.

	       [2] As used in this Rule, examples of status or condition include but are not limited to race,
color, sex, gender identity or expression, religion, nationality, national origin, ethnicity, citizenship or
immigration status, ancestry, disease or disability, age, sexual orientation, marital status, socioeconomic
status, or political affiliation.

	       [3] As used in this Rule, examples of manifestations of bias or prejudice include but are not
limited to epithets; slurs; demeaning nicknames; negative stereotyping; attempted humor based upon
stereotypes; threatening, intimidating, or hostile acts; improper suggestions of connections between
status or condition and crime; and irrelevant references to personal characteristics. Even facial expres-
sions and body language can convey an appearance of bias or prejudice to parties and lawyers in the
proceeding, jurors, the media, and others.

	       [4] As used in this Rule, harassment is verbal or physical conduct that denigrates or shows
hostility or aversion toward a person on bases such as those listed in Comment [2].

	      [5] Sexual harassment includes but is not limited to sexual advances, requests for sexual favors,
and other verbal or physical conduct of a sexual nature that is unwelcome.


                                      Ex. A, p. 52 of 91.                                                      45
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 53 of 91
     Code    of   Judicial Conduct
     Rule 2.4 External Influences on Judicial Conduct

     (A) A judge shall not be swayed by partisan interests, public clamor, or fear of criticism.

     (B) A judge shall not permit family, social, political, financial, or other interests or relationships
     to influence the judge’s judicial conduct or judgment.

     (C) A judge shall not convey or permit others to convey the impression that any person or orga-
     nization is in a position to influence the judge.

     Comment

     	       [1] An independent judiciary requires that judges decide cases according to the law* and facts,
     without regard to whether particular laws* or litigants are popular or unpopular with the public, the
     media, government officials, or the judge’s friends or family. Confidence in the judiciary is eroded if
     judicial decision-making is perceived to be subject to inappropriate outside influences.

     Rule 2.5 Competence, Diligence, and Cooperation

     (A) A judge shall perform judicial and administrative duties competently, diligently, and in a
     timely manner.

     (B) A judge shall cooperate with other judges and court officials in the administration of court
     business.

     Comment

     	       [1] Competence in the performance of judicial duties requires the legal knowledge,* skill,
     thoroughness, and preparation reasonably necessary to perform a judge’s responsibilities of judicial
     office.

     	      [2] A judge should seek the necessary resources to discharge all adjudicative and administrative
     responsibilities.

     	        [3] Timely disposition of the court’s business requires a judge to devote adequate time to judicial
     duties, to be punctual in attending court and expeditious in determining matters under advisement, and
     to take reasonable measures to ensure that court personnel,* litigants, and lawyers cooperate with the
     judge to that end.

     	       [4] In disposing of matters efficiently and in a timely manner, a judge must demonstrate due
     regard for the rights of parties to be heard and to have issues resolved without unnecessary cost or
     delay. A judge should monitor and supervise cases in ways that reduce or eliminate dilatory practices,
     avoidable delays, and unnecessary costs.




46                                         Ex. A, p. 53 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 54 of 91
                                                                      Code     of   Judicial Conduct
Rule 2.6 Ensuring the Right to be Heard

(A) A judge shall accord to every person who has a legal interest in a proceeding, or that person’s
lawyer, the right to be heard according to law.* A judge may make reasonable efforts, consistent
with the law,* to facilitate the ability of all litigants, including self-represented litigants, to be
fairly heard.

(B) A judge may encourage parties and their lawyers to resolve matters in dispute and, in ac-
cordance with applicable law,* may participate in settlement discussions in civil proceedings and
plea discussions in criminal proceedings, but shall not act in a manner that coerces any party
into settlement or resolution of a proceeding.

Comment

	      [1] The right to be heard is an essential component of a fair and impartial* system of justice.
Substantive rights of litigants can be protected only if procedures protecting the right to be heard are
observed.

	       [1A] The judge has an affirmative role in facilitating the ability of every person who has a legal
interest in a proceeding to be fairly heard. In the interest of ensuring fairness and access to justice,
judges may make reasonable accommodations that help self-represented litigants to understand the
proceedings and applicable procedural requirements, secure legal assistance, and be heard according to
law.* The judge should be careful that accommodations do not give self-represented litigants an unfair
advantage or create an appearance of judicial partiality. In some circumstances, particular accommo-
dations for self-represented litigants are required by decisional or other law.* In other circumstances,
potential accommodations are within the judge’s discretion. By way of illustration, a judge may: (1)
construe pleadings liberally; (2) provide brief information about the proceeding and evidentiary and
foundational requirements; (3) ask neutral questions to elicit or clarify information; (4) modify the
manner or order of taking evidence or hearing argument; (5) attempt to make legal concepts understand-
able; (6) explain the basis for a ruling; and (7) make referrals as appropriate to any resources available
to assist the litigants. For civil cases involving self-represented litigants, the Judicial Guidelines for
Civil Hearings Involving Self-Represented Litigants (April 2006) provides useful guidance to judges
seeking to exercise their discretion appropriately so as to ensure the right to be heard.

	       [2] A judge may encourage parties and their lawyers to resolve matters in dispute. A judge’s
participation in settlement discussions in civil proceedings and plea discussions in criminal proceedings
must be conducted in accordance with applicable law.* Judicial participation may play an important
role, but the judge should be careful that the judge’s efforts do not undermine any party’s right to be
heard according to law.* The judge should keep in mind the effect that the judge’s participation may
have not only on the judge’s own views of the case, but also on the perceptions of the lawyers and the
parties if these efforts are unsuccessful and the case remains with the judge. Other factors that a judge
should consider when deciding upon an appropriate practice for a case include: (1) whether the parties
have requested or voluntarily consented to a certain level of participation by the judge; (2) whether
the parties and their counsel are relatively sophisticated in legal matters; (3) whether the case will be
tried by the judge or a jury; (4) whether the parties participate with their counsel in the discussions; (5)
whether any parties are self-represented; (6) whether the matter is civil or criminal; and (7) whether
there is a history of physical or emotional violence or abuse between the parties. See Rule 2.9(A)(4).


                                      Ex. A, p. 54 of 91.                                                      47
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 55 of 91
     Code    of   Judicial Conduct
     	       [3] Judges must be mindful of the effect settlement or plea discussions can have not only on
     their objectivity and impartiality,* but also on the appearance of their objectivity and impartiality.*
     Despite a judge’s best efforts, there may be instances when information obtained during such discus-
     sions could influence a judge’s decision-making during trial, and, in such instances, the judge should
     consider whether disqualification may be appropriate. See Rule 2.11.

     Rule 2.7 Responsibility to Decide

     A judge shall hear and decide matters assigned to the judge, except when disqualification is
     required by Rule 2.11 or other law.*

     Comment

     	       [1] Although there are times when disqualification is necessary to protect the rights of litigants
     and preserve public confidence in the independence,* integrity,* and impartiality* of the judiciary,
     judges must be available to decide matters that come before the court. Unwarranted disqualification
     may bring public disfavor to the court and to the judge personally. The dignity of the court, the judge’s
     respect for fulfillment of judicial duties, and a proper concern for the burdens that may be imposed
     upon the judge’s colleagues require that a judge not use disqualification to avoid cases that present
     difficult, controversial, or unpopular issues.

     Rule 2.8 Decorum, Demeanor, and Communication with Jurors

     (A) A judge shall require order and decorum in proceedings before the court.

     (B) A judge shall be patient, dignified, and courteous to litigants, jurors, witnesses, lawyers, court
     personnel,* and others with whom the judge deals in an official capacity, and shall require similar
     conduct of lawyers, court personnel,* and others subject to the judge’s direction and control.

     (C) A judge shall not commend or criticize jurors for their verdict other than in a court order or
     opinion in a proceeding but may express appreciation to jurors for their service to the judicial
     system and the community.

     Comment

     	      [1] The duty to conduct all proceedings with patience and courtesy is not inconsistent with the
     duty imposed in Rule 2.5 to dispose promptly of the business of the court. Judges can be efficient and
     businesslike while being patient and deliberate.

     	        [2] Commending or criticizing jurors for their verdict, other than in a court order or opinion,
     may imply a judicial expectation in future cases and may impair a juror’s ability to be fair and impar-
     tial* in a subsequent case. Such commendations or criticisms of verdicts could also be perceived as
     calling into question the judge’s ability to rule impartially* on any post-trial motions, or on remand,
     in the same case.

     	      [3] A judge who is not otherwise prohibited by law* from doing so may meet with jurors who
     choose to remain after trial but should be careful not to discuss the merits of the case.


48                                        Ex. A, p. 55 of 91.
          Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 56 of 91
                                                               Code    of   Judicial Conduct
Rule 2.9 Ex Parte Communications

(A) A judge shall not initiate, permit, or consider ex parte communications, or consider other
communications made to the judge outside the presence of the parties or their lawyers, concern-
ing a pending* or impending matter,* except as follows:
       (1) When circumstances require it, ex parte communication for scheduling, administra-
       tive, or emergency purposes, which does not address substantive matters, is permitted,
       provided:
               (a) the judge reasonably believes that no party will gain a procedural, substan-
               tive, or tactical advantage as a result of the ex parte communication; and
               (b) the judge makes provision promptly to notify all other parties of the sub-
               stance of the ex parte communication, and gives the parties an opportunity to
               respond.
       (2) A judge may engage in ex parte communications in specialty courts,* as authorized
       by law.*
       (3) A judge may consult with court personnel* whose function is to aid the judge in car-
       rying out the judge’s adjudicative responsibilities, or with other judges, subject to the
       following:
               (a) a judge shall take all reasonable steps to avoid receiving from court person-
               nel* or other judges factual information concerning a case that is not part of
               the case record. If court personnel* or another judge nevertheless brings in-
               formation about a matter that is outside of the record to the judge’s attention,
               the judge may not base a decision on it without giving the parties notice of that
               information and an opportunity to respond. Consultation is permitted between
               a judge, clerk-magistrate, or other appropriate court personnel* and a judge
               taking over the same case or session in which the case is pending with regard to
               information learned from prior proceedings in the case that may assist in main-
               taining continuity in handling the case;
               (b) when a judge consults with a probation officer, housing specialist, or compa-
               rable court employee about a pending* or impending* matter, the consultation
               shall take place in the presence of the parties who have availed themselves of the
               opportunity to appear and respond, except as provided in Rule 2.9(A)(2);
               (c) a judge shall not consult with an appellate judge, or a judge in a different
               Trial Court Department, about a matter that the judge being consulted might
               review on appeal; and
               (d) no judge shall consult with another judge about a pending matter* before
               one of them when the judge initiating the consultation knows* the other judge
               has a financial, personal or other interest that would preclude the other judge
               from hearing the case, and no judge shall engage in such a consultation when
               the judge knows* he or she has such an interest.
       (4) A judge may, with the consent of the parties, confer separately with the parties and
       their lawyers in an effort to settle civil matters pending before the judge.
       (5) A judge may initiate, permit, or consider any ex parte communication when authorized
       by law* to do so.




                                  Ex. A, p. 56 of 91.                                               49
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 57 of 91
     Code    of   Judicial Conduct
     (B) If a judge inadvertently receives an unauthorized ex parte communication bearing upon
     the substance of a matter, the judge shall make provision promptly to notify the parties of the
     substance of the communication.

     (C) A judge shall consider only the evidence presented and any adjudicative facts that may prop-
     erly be judicially noticed, and shall not undertake any independent investigation of the facts in
     a matter.

     (D) A judge shall make reasonable efforts, including providing appropriate supervision, to ensure
     that this Rule is not violated by court personnel.*

     Comment

     	       [1] To the extent reasonably possible, all parties or their lawyers shall be included in commu-
     nications with a judge.

     	       [1A] “Ex parte communication” means a communication pertaining to a proceeding that occurs
     without notice to or participation by all other parties or their representatives between a judge (or court
     personnel* acting on behalf of a judge) and (i) a party or a party’s lawyer, or (ii) another person who
     is not a participant in the proceeding

     	       [2] Whenever the presence of a party or notice to a party is required by this Rule, it is the party’s
     lawyer, or if the party is self-represented, the party, who is to be present or to whom notice is to be
     given, unless otherwise required by law.* For example, court rules with respect to Limited Assistance
     Representation may require that notice be given to both the party and the party’s limited assistance
     attorney.

     	       [3] The proscription against ex parte communications concerning a proceeding includes com-
     munications with lawyers, law teachers, and other persons who are not participants in the proceeding,
     except to the limited extent permitted by this Rule.

     	      [4] Paragraph (A)(2) permits a judge to engage in ex parte communications in conformance
     with law,* including court rules and standing orders, governing operation of specialty courts.*

     	       [4A] Ex parte communications with probation officers, housing specialists, or other comparable
     court employees are permitted in specialty courts* where authorized by law.* See Paragraph (A)(2)
     and Comment [4]. Where ex parte communications are not permitted, a judge may consult with these
     employees ex parte about the specifics of various available programs so long as there is no discussion
     about the suitability of the program for a particular party.

     	       [5] A judge may consult with other judges, subject to the limitations set forth by this Rule. This
     is so whether or not the judges serve on the same court. A judge must avoid ex parte communications
     about a matter with a judge who has previously been disqualified from hearing the matter or with an
     appellate judge who might be called upon to review that matter on appeal. The same holds true with
     respect to those instances in which a judge in one department of the trial court may be called upon
     to review a case decided by a judge in a different department; for example, a judge in the Superior
     Court may be required to review a bail determination made by a judge in the District Court. The ap-


50                                          Ex. A, p. 57 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 58 of 91
                                                                    Code    of   Judicial Conduct
pellate divisions of the Boston Municipal Court and of the District Court present a special situation.
The judges who sit as members of these appellate divisions review on appeal cases decided by judges
who serve in the same court department. However, the designation of judges to sit on the appellate
divisions changes quite frequently; every judge on the Boston Municipal Court will, and every judge
on the District Court may, serve for some time as a member of that court’s appellate division. Judges
in the same court department are not barred from consulting with each other about a case, despite the
possibility that one of the judges may later review the case on appeal. However, when a judge is serving
on an appellate division, the judge must not review any case that the judge has previously discussed
with the judge who decided it; disqualification is required. Consultation between or among judges,
if otherwise permitted, is appropriate only if the judge before whom the matter is pending* does not
abrogate the responsibility personally to decide it.

	       [6] The prohibition in Paragraph (C) against a judge independently investigating adjudicative
facts applies equally to information available in all media, including electronic media.

	      [7] A judge may consult the Committee on Judicial Ethics, the State Ethics Commission, outside
counsel, or legal experts concerning the judge’s compliance with this Code.

Rule 2.10 Judicial Statements on Pending and Impending Cases

(A) A judge shall not make any statement that might reasonably be expected to affect the outcome
or impair the fairness of a matter pending* or impending* in any Massachusetts court.

(B) A judge shall not, in connection with cases, controversies, or issues that are likely to come
before any Massachusetts court, make pledges, promises, or commitments that are inconsistent
with the impartial* performance of the duties of judicial office.

(C) A judge shall require court personnel* to refrain from making statements that the judge
would be prohibited from making by Paragraphs (A) and (B).

(D) Subject to the restrictions in Paragraphs (A) and (B), a judge may make statements that
explain the procedures of the court, general legal principles, or what may be learned from the
public record in a case. A judge may comment on any proceeding in which the judge is a litigant
in a personal capacity.

(E) Subject to the restrictions in Paragraphs (A) and (B), a judge may respond directly or through
a third party to public criticisms of the judge’s behavior, but shall not respond to public criticisms
of the substance of the judge’s rulings other than by statements consistent with Paragraph (D).

(F) Subject to the restrictions in Paragraphs (A) and (B), a judge may speak, write, or teach
about issues in pending* or impending* matters, but not matters pending* or impending* before
that judge, when such comments are made in legal education programs and materials, scholarly
presentations and related materials, or learned treatises, academic journals, and bar publications.




                                     Ex. A, p. 58 of 91.                                                   51
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 59 of 91
     Code    of   Judicial Conduct
     Comment

     	      [1] This Rule’s restrictions on judicial speech are essential to the maintenance of the indepen-
     dence,* integrity,* and impartiality* of the judiciary.

     	      [2] Paragraph (A) does not apply to any oral or written statement or decision by a judge in the
     course of adjudicative duties. A judge is encouraged to explain on the record at the time decisions are
     made the basis for those decisions or rulings, including decisions concerning bail and sentencing. By
     helping litigants to understand the basis for decisions in cases, the judge also promotes public under-
     standing of judicial proceedings.

     	       [3] “[A]ny Massachusetts court” for purposes of this Rule means any state or federal court
     within the Commonwealth of Massachusetts.

     	      [4] The requirement that a judge abstain from statements regarding a pending* or impending*
     matter continues throughout the appellate process and until final disposition.

     	         [5] This Rule does not prohibit a judge from commenting on proceedings in which the judge
     is a litigant in a personal capacity. However, even in such instances, a judge must act in a manner that
     promotes public confidence in the independence,* integrity,* and impartiality* of the judiciary, and
     shall avoid impropriety* and the appearance of impropriety.*

     	       [6] Paragraph (D) permits the dissemination of public information to educate and inform the
     public, while assuring the public that cases are tried only in the judicial forum devoted to that purpose.
     A judge may explain to the media or general public the procedures of the court and general legal prin-
     ciples such as the procedures and standards governing a “dangerousness hearing” under G. L. c. 276,
     § 58A, or restraining orders under G. L. c. 209A. A judge may also explain to the media or the general
     public what may be learned from the public record in a particular case. For example, a judge may re-
     spond to questions from a reporter about a judicial action that was taken and may correct an incorrect
     media report by referring to matters that may be learned from pleadings, documentary evidence, and
     proceedings held in open court. Paragraph (D) permits similar responsive comments or explanations
     by a judge acting in accordance with the judge’s administrative duties.

     	       [7] As used in Paragraph (E), “behavior” does not include the substance of a judge’s rulings.
     For example, a judge may respond to criticism that the judge is disrespectful to litigants, but may
     not respond to criticism that the judge made an incorrect ruling other than by statements allowed by
     Paragraph (D).

     	       [8] The authorizations to comment in this Rule are permissive, not suggestive. A judge is not
     required to respond to statements in the media or elsewhere. Depending on the circumstances, the
     judge should consider the timing of any response and whether it may be preferable for a third party,
     rather than the judge, to respond.

     	       [9] When speaking, writing, or teaching about issues in cases or matters, a judge must take
     care that the judge’s comments do not impair public confidence in the independence,* integrity,* or
     impartiality* of the judiciary.



52                                        Ex. A, p. 59 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 60 of 91
                                                                      Code    of   Judicial Conduct
	       [10] When a judge orally renders a decision and intends to explain the judge’s reasons in a
written memorandum, the judge should simultaneously inform the parties that an explanatory memo-
randum will be forthcoming. When a judge has not indicated at the time the judge issues the underlying
order that a written explanatory comment will be forthcoming and such a memorandum has not been
requested by a party or by an appellate single justice or court, a judge has the discretion to issue an
explanatory memorandum. The exercise of that discretion should be informed by the following guid-
ance:
        (i) A judge should weigh, at a minimum, the following factors:
                 the importance of avoiding or alleviating the parties’ or the public’s misunderstanding
                 or confusion by supplementing the record to reflect in more detail the reasons in sup-
                 port of the judge’s earlier decision;
                 the amount of time that has elapsed since the order was issued and the extent to which
                 the judge’s reasons for the decision remain fresh in the judge’s mind;
                 the risk that an explanatory memorandum may unfairly affect the rights of a party or
                 appellate review of the underlying order; and
                 the danger that the issuance of an explanatory memorandum would suggest that judi-
                 cial decisions are influenced by public opinion or criticism voiced by third parties, and
                 would not promote confidence in the courts and in the independence,* integrity,* and
                 impartiality* of judges.
        (ii) An explanatory memorandum is appropriate only if issued within a reasonable time of the
        underlying order and if the judge clearly recalls the judge’s reasons for the decision. An ex-
        planatory memorandum should not rely on any information that was not in the record before
        the judge at the time of the underlying order.
        (iii) A judge may not issue an explanatory memorandum if the court no longer has authority
        to alter or amend the underlying order. For example, a judge may not issue an explanatory
        memorandum when:
                 the underlying order is the subject of an interlocutory appeal, report, or other appellate
                 proceeding that has already been docketed in the appellate court, unless such a memo-
                 randum has been requested by an appellate single justice or court;
                 the case has been finally adjudicated in the trial court, no timely-filed post-judgment
                 motions are pending,* and the time within which the court may modify its orders and
                 judgments on its own initiative has passed; or
                 an appeal has been taken from a final order or judgment, and the appeal has been dock-
                 eted in the appellate court.

Rule 2.11 Disqualification

(A) A judge shall disqualify himself or herself in any proceeding in which the judge cannot be
impartial* or the judge’s impartiality* might reasonably be questioned, including but not limited
to the following circumstances:
        (1) The judge has a personal bias or prejudice concerning a party or a party’s lawyer, or
        personal knowledge* of facts that are in dispute in the proceeding.
        (2) The judge knows* that the judge, the judge’s spouse or domestic partner,* or a per-
        son within the third degree of relationship* to either of them, or the spouse or domestic
        partner* of such a person is:
               (a) a party to the proceeding, or an officer, director, general partner, managing
               member, or trustee of a party;


                                      Ex. A, p. 60 of 91.                                                     53
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 61 of 91
     Code   of   Judicial Conduct
                    (b) acting as a lawyer in the proceeding;
                    (c) a person who has more than a de minimis financial or other interest that could
                    be substantially affected by the proceeding; or
                    (d) likely to be a material witness in the proceeding.
            (3) The judge knows* that he or she, individually or as a fiduciary,* or the judge’s spouse,
            domestic partner,* parent, or child, or any other member of the judge’s family residing
            in the judge’s household,* has an economic interest* in the subject matter in controversy
            or is a party to the proceeding.
            (4) The judge, while a judge or a judicial applicant* or judicial nominee,* has made a
            public statement, other than in a court proceeding, judicial decision, or opinion, that com-
            mits or appears to commit the judge to reach a particular result or rule in a particular
            way in the proceeding or controversy.
            (5) The judge:
                    (a) served as a lawyer in the matter in controversy, or was associated with a lawyer
                    who participated substantially as a lawyer in the matter during such association;
                    (b) served in governmental employment, and in such capacity participated person-
                    ally and substantially as a lawyer or public official concerning the proceeding, or
                    has publicly expressed in such capacity an opinion concerning the merits of the
                    particular matter in controversy;
                    (c) was a material witness concerning the matter; or
                    (d) previously presided as a judge over the matter in another court.

     (B) A judge shall keep informed about the judge’s personal and fiduciary* economic interests,*
     and make a reasonable effort to keep informed about the personal economic interests* of the
     judge’s spouse or domestic partner* and minor children residing in the judge’s household.

     (C) A judge subject to disqualification under this Rule, other than for bias or prejudice under
     Paragraph (A)(1), may disclose on the record the basis of the judge’s disqualification and may
     ask the parties and their lawyers to consider, outside the presence of and without participation
     by the judge and court personnel,* whether to waive disqualification. If, following a consulta-
     tion that is free from coercion, express or implied, the parties and lawyers agree that the judge
     should not be disqualified, the judge may participate in the proceeding. The agreement shall be
     incorporated into the record of the proceeding.

     Comment

     	        [1] A judge is disqualified from any matter if the judge cannot satisfy both a subjective and
     an objective standard. The subjective standard requires disqualification if the judge concludes that he
     or she cannot be impartial.* The objective standard requires disqualification whenever the judge’s
     impartiality* might reasonably be questioned by a fully-informed disinterested observer, regardless
     of whether any of the specific provisions of Paragraphs (A)(1) through (5) apply. By way of example,
     a judge must disqualify himself or herself from any proceeding in which the judge is a client of a
     party’s lawyer or the lawyer’s firm. Whether a judge must continue to disqualify himself or herself
     after this attorney-client relationship has concluded should be determined by considering all relevant
     factors, including the terms on which the lawyer provided representation, the length of time since the
     representation concluded, the nature and subject matter of the representation, and the extent of the
     attorney-client relationship, including the length of the relationship and the frequency of contacts be-


54                                        Ex. A, p. 61 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 62 of 91
                                                                       Code    of   Judicial Conduct
tween the judge and the lawyer. A judge must also bear in mind that social relationships may contribute
to a reasonable belief that the judge cannot be impartial.

	       [2] A judge’s obligation not to hear or decide matters in which disqualification is required ap-
plies regardless of whether a motion to disqualify is filed.

	       [3] The rule of necessity may override the rule of disqualification. For example, a judge might
be required to participate in judicial review of a judicial salary statute, or might be the only judge avail-
able in a matter requiring immediate judicial action, such as a hearing on probable cause or a temporary
restraining order. In matters that require immediate action, the judge must disclose on the record the
basis for possible disqualification and make reasonable efforts to transfer the matter to another judge
as soon as practicable.

	       [4] The fact that a lawyer in a proceeding is affiliated with a law firm with which a relative of
the judge is affiliated does not itself disqualify the judge. If, however, under the circumstances, the
judge’s impartiality* might reasonably be questioned under Paragraph (A), then the judge’s disquali-
fication is required.

	      [5] A judge should disclose on the record information that the judge believes the parties or their
lawyers might reasonably consider relevant to a possible motion for disqualification, even if the judge
believes there is no basis for disqualification.

	        [6] The filing of a judicial discipline complaint during the pendency of a matter does not neces-
sarily require disqualification of the judge presiding over the matter. The judge’s decision to disqualify
in such circumstances must be resolved on a case-by-case basis.

Rule 2.12 Supervisory Duties

(A) A judge shall require court personnel* and others subject to the judge’s direction and control
to act in a manner consistent with the judge’s obligations under this Code.

(B) A judge with supervisory authority for the performance of other judges shall take reasonable
measures to ensure that those judges properly discharge their judicial responsibilities, including
the prompt disposition of matters before them.

Comment

	       [1] A judge may not direct court personnel* to engage in conduct on the judge’s behalf or as
the judge’s representative when such conduct would violate the Code if undertaken by the judge.

	       [2] Public confidence in the judicial system depends upon timely justice. To promote the effi-
cient administration of justice, a judge with supervisory authority must take the steps needed to ensure
that those under the judge’s supervision administer their workloads promptly.

Rule 2.13 Administrative Appointments

(A) In making administrative appointments, a judge shall:


                                       Ex. A, p. 62 of 91.                                                      55
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 63 of 91
     Code    of   Judicial Conduct
            (1) exercise the power of appointment impartially* and on the basis of merit; and
            (2) avoid nepotism, favoritism, and unnecessary appointments.

     (B) A judge shall not approve compensation of appointees beyond the fair value of services ren-
     dered.

     Comment

     	       [1] Appointees of a judge may include assigned counsel, guardians ad litem, special masters,
     receivers, and any court personnel* subject to appointment by a judge. Consent by the parties to an
     appointment or an award of compensation does not relieve the judge of the obligation prescribed by
     this Rule. Compliance with court rules pertaining to fee-generating appointments satisfies the judge’s
     obligations under Paragraph (A). See SJC Rule 1:07.

     	       [2] Unless otherwise defined by law,* nepotism is the appointment or hiring of any relative
     within the third degree of relationship* of either the judge or the judge’s spouse or domestic partner,*
     or the spouse or domestic partner* of such relative. See also Trial Court Personnel Policies and Pro-
     cedures Manual, § 4.304.

     Rule 2.14 Disability and Impairment

     A judge having a reasonable belief that the performance of a lawyer or another judge is impaired
     by drugs or alcohol, or by a mental, emotional, or physical condition, shall take appropriate ac-
     tion, which may include a confidential referral to a lawyer or judicial assistance program.

     Comment

     	       [1] Taking appropriate action to address disability or impairment pursuant to this Rule is part
     of a judge’s judicial duties. This Rule requires a judge to take appropriate action even if the disability
     or impairment has not manifested itself in a violation of the Rules of Professional Conduct or the Code
     of Judicial Conduct. See Rule 2.15, which requires a judge to take action to address violations of the
     Rules of Professional Conduct or the Code of Judicial Conduct.

     	       [2] Appropriate action means action intended and reasonably likely to help the judge or lawyer
     in question address the problem and prevent harm to the justice system. Depending upon the circum-
     stances, appropriate action may include but is not limited to speaking directly to the impaired person,
     notifying an individual with supervisory responsibility over the impaired person, or making a referral
     to an assistance program. If the lawyer is appearing before the judge, a judge may defer taking action
     until the matter has been concluded, but must do so as soon as practicable thereafter. However, imme-
     diate action is compelled when a lawyer is unable to provide competent representation to the lawyer’s
     client.

     	        [3] Taking or initiating corrective action by way of referral to an assistance program may sat-
     isfy a judge’s responsibility under this Rule. Assistance programs have many approaches for offering
     help to impaired judges and lawyers, such as intervention, counseling, or referral to appropriate health
     care professionals. Depending upon the gravity of the conduct that has come to the judge’s attention,
     however, the judge may be required to take other action. See Rule 2.15.


56                                        Ex. A, p. 63 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 64 of 91
                                                                      Code     of   Judicial Conduct
Rule 2.15 Responding to Judicial and Lawyer Misconduct

(A) A judge having knowledge* that another judge has committed a violation of this Code that
raises a substantial question regarding the judge’s honesty, integrity,* trustworthiness, or fit-
ness as a judge in other respects shall inform the Chief Justice of the Supreme Judicial Court,
the Chief Justice of the court on which the judge sits, and if the judge is a Trial Court judge, the
Chief Justice of the Trial Court.

(B) A judge having knowledge* that a lawyer has committed a violation of the Rules of Profes-
sional Conduct that raises a substantial question regarding the lawyer’s honesty, integrity,*
trustworthiness, or fitness as a lawyer in other respects shall inform the Office of Bar Counsel.

(C) A judge having knowledge* of or receiving credible information indicating a substantial
likelihood that another judge has otherwise violated this Code shall take appropriate action.

(D) A judge having knowledge* of or receiving credible information indicating a substantial
likelihood that a lawyer has otherwise violated the Rules of Professional Conduct shall take ap-
propriate action.

Comment

	        [1] Taking action to address known* misconduct is part of a judge’s duties. Paragraphs (A) and
(B) impose an obligation on the judge to report to the appropriate authority the known* misconduct of
another judge or a lawyer that raises a substantial question regarding the honesty, integrity,* trustworthi-
ness, or fitness of that judge or lawyer. Ignoring or denying known* misconduct among one’s judicial
colleagues or members of the legal profession undermines a judge’s responsibility to participate in
efforts to ensure public respect for the justice system. This Rule limits the reporting obligation to those
offenses that an independent judiciary must vigorously endeavor to prevent. If the lawyer is appear-
ing before the judge, a judge may defer making a report until the matter has been concluded, but the
report should be made as soon as practicable thereafter. However, an immediate report is compelled
when a person will likely be injured by a delay in reporting, such as where the judge has knowledge*
that a lawyer has embezzled client or fiduciary* funds and delay may impair the ability to recover the
funds.

	        [2] A judge who has knowledge* or receives credible information indicating a substantial likeli-
hood that a judge has otherwise violated this Code, or that a lawyer has otherwise violated the Rules of
Professional Conduct, is required to take appropriate action under Paragraph (C) or (D). Appropriate
action pursuant to Paragraph (C) may include communicating directly with the judge, reporting to the
first justice or regional administrative justice of the court where the violation occurred or where that
judge often sits, reporting to the Chief Justice of that judge’s court, and/or calling the judicial hotline
maintained by Lawyers Concerned for Lawyers. Appropriate action pursuant to Paragraph (D) may
include communicating directly with the lawyer, reporting to the lawyer’s supervisor or employer,
and/or reporting to the Office of Bar Counsel. These lists of actions are illustrative and not meant to be
limiting. If the lawyer is appearing before the judge, a judge may defer taking action until the matter
has been concluded, but action should be taken as soon as practicable thereafter. Reporting a violation
is especially important where the victim is unlikely to discover the offense, and an immediate report
is compelled when a person will likely be injured by a delay in reporting.


                                      Ex. A, p. 64 of 91.                                                      57
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 65 of 91
     Code    of   Judicial Conduct
     Rule 2.16 Cooperation with Disciplinary Authorities

     (A) A judge shall cooperate and be candid and honest with judicial and lawyer disciplinary
     authorities.

     (B) A judge shall not retaliate, directly or indirectly, against a person known* or suspected to
     have assisted or cooperated with an investigation of a judge or a lawyer.

     Comment

     	        [1] Cooperation with investigations and proceedings of judicial and lawyer discipline authori-
     ties, as required in Paragraph (A), instills confidence in judges’ commitment to the integrity* of the
     judicial system and the protection of the public.

                                    CANON 3:
     A JUDGE SHALL CONDUCT THE JUDGE’S PERSONAL AND EXTRAJUDICIAL ACTIVI-
     TIES TO MINIMIZE THE RISK OF CONFLICT WITH THE OBLIGATIONS OF JUDICIAL
                                     OFFICE

     Rule 3.1 Extrajudicial Activities in General

     A judge may engage in extrajudicial activities, except as prohibited by law* or this Code. How-
     ever, when engaging in extrajudicial activities, a judge shall not:

     (A) participate in activities that are reasonably likely to interfere with the proper performance
     of the judge’s judicial duties;

     (B) participate in activities that are reasonably likely to lead to recurrent disqualification of the
     judge;

     (C) participate in activities that would appear to a reasonable person to undermine the judge’s
     independence,* integrity,* or impartiality*;

     (D) engage in conduct that would appear to a reasonable person to be coercive; or

     (E) make use of court premises, staff, stationery, equipment, or other resources, except for use
     that is reasonable in scope, not prohibited by law,* and incidental to activities that concern the
     law,* the legal system, or the administration of justice.

     Comment

     	        [1] To the extent that time permits, and judicial independence* and impartiality* are not
     compromised, judges are encouraged to engage in appropriate extrajudicial activities. Judges are
     uniquely qualified to engage in extrajudicial activities that concern the law,* the legal system, and the
     administration of justice. In addition, judges are permitted and encouraged to engage in educational,
     religious, charitable, fraternal or civic extrajudicial activities not conducted for profit, even when the
     activities do not involve the law.* Participation in both law-related and other extrajudicial activities


58                                        Ex. A, p. 65 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 66 of 91
                                                                      Code    of   Judicial Conduct
helps integrate judges into their communities, and furthers public understanding of and respect for
courts and the judicial system. See Rule 3.7.

	       [2] This Rule emphasizes that when engaging in any extrajudicial activity, a judge must con-
sider the obligations of judicial office and avoid any activities that are reasonably likely to interfere
with those obligations.

	        [3] Discriminatory actions and expressions of bias or prejudice by a judge, even outside the
judge’s official or judicial actions, are likely to appear to a reasonable person to call into question
the judge’s independence,* integrity,* or impartiality.* Examples include jokes or other remarks that
demean individuals based upon their race, color, sex, gender identity or expression, religion, nation-
ality, national origin, ethnicity, citizenship or immigration status, ancestry, disease or disability, age,
sexual orientation, marital status, socioeconomic status, or political affiliation. For the same reason, a
judge’s extrajudicial activities must not be conducted in connection or affiliation with an organization
that practices invidious discrimination. See Rule 3.6.

	       [4] While engaged in permitted extrajudicial activities, judges must not coerce others or take
action that would reasonably be perceived as coercive. For example, a judge’s urging a lawyer who
appears in the judge’s court to assist on a time-consuming extrajudicial project would create the risk
that the person solicited would feel obligated to respond favorably, or would do so to curry favor with
the judge.

	       [5] Paragraph (E) recognizes that reasonable use of public resources to support a judge’s law-
related activities advances the legitimate interests of the public and the court system.

Rule 3.2 Appearances before Governmental Bodies and Consultation with Government Officials

A judge shall not appear voluntarily at a public hearing before, or otherwise consult with, an
executive or a legislative body or official, except:

(A) in connection with matters concerning the law,* the legal system, or the administration of
justice; or

(B) when the judge is acting pro se in a matter involving the judge’s legal or economic interests,*
or when the judge is acting in a fiduciary* capacity pursuant to Rule 3.8.

Comment

	        [1] Judges possess special expertise in matters of law,* the legal system, and the administration
of justice, and may properly share that expertise with governmental bodies and executive or legislative
branch officials by, for example, proposing new legislation, commenting on new legislation proposed by
others, or proposing or commenting on amendments to existing law.* The types of topics that a judge
may address include but are not limited to court facilities, funding, staffing, resources, and security;
terms of employment, compensation, and other benefits of judges and court personnel*; personal safety
of judges and court personnel*; court jurisdiction and procedures; the work of specialty courts*; the
admissibility or inadmissibility of evidence; judicial discretion in sentencing; funding for the legal
representation of indigents; access to justice; and similar matters.


                                      Ex. A, p. 66 of 91.                                                     59
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 67 of 91
     Code   of   Judicial Conduct
     	      [2] In appearing before governmental bodies or consulting with government officials, judges
     must be mindful that they remain subject to other provisions of this Code, such as Rule 1.3, which
     prohibits judges from abusing the prestige of office to advance their own or others’ interests; Rule
     2.10, which governs public comment on pending* and impending matters*; and Rule 3.1(C), which
     prohibits judges from engaging in extrajudicial activities that would appear to a reasonable person to
     undermine the judge’s independence,* integrity,* or impartiality.*

     	       [3] In general, it would be an unnecessary and unfair burden to prohibit judges from appear-
     ing before governmental bodies or consulting with government officials on matters that are likely to
     affect them as private citizens, such as zoning proposals affecting their real property. In engaging in
     such activities, however, judges must not refer to their judicial positions, and must otherwise exercise
     caution to avoid abusing the prestige of judicial office.

     Rule 3.3 Testifying as a Character Witness

     A judge shall not testify as a character witness in a judicial, administrative, or other adjudica-
     tory proceeding or otherwise vouch for the character of a person in a legal proceeding, except
     when duly summoned.

     Comment

     	        [1] A judge who, without being subpoenaed, testifies as a character witness lends the prestige
     of judicial office to advance the interests of another. See Rule 1.3. Except in unusual circumstances
     where the demands of justice require, a judge should discourage a party from requiring the judge to
     testify as a character witness.

     	        [2] This Rule does not preclude a judge from voluntarily testifying or otherwise vouching for
     the qualifications, including the character, of an applicant or nominee for judicial or court-related of-
     fice, as long as the judge’s observations are based on the judge’s personal knowledge.* See Rule 1.3.

     	     [3] This Rule does not preclude a judge from providing a character reference based on personal
     knowledge* for an applicant to the bar of any state.

     	       [4] This Rule does not preclude a judge from responding based on personal knowledge* to an
     inquiry from any state or federal entity, or a contractor for such an entity, conducting a background
     investigation in connection with an application for public employment or for security clearance.

     Rule 3.4 Appointments to Governmental Positions

     A judge shall not accept appointment to a governmental committee, board, commission, or other
     governmental position, unless it is one that concerns the law,* the legal system, or the adminis-
     tration of justice.

     Comment

     	       [1] This Rule implicitly acknowledges the value of judges accepting appointments to entities
     that concern the law,* the legal system, or the administration of justice. However, a judge must assess


60                                        Ex. A, p. 67 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 68 of 91
                                                                    Code    of   Judicial Conduct
the appropriateness of accepting an appointment, paying particular attention to the subject matter of
the appointment, see Rule 3.2, and the availability and allocation of judicial resources, including the
judge’s time commitments, and giving due regard to the importance of respecting the separation of
powers, upholding the independence,* integrity,* and impartiality* of the judiciary, and minimizing
judicial disqualification. Furthermore, acceptance of extrajudicial appointments is subject to applicable
restrictions relating to multiple office holding set forth in the Constitution of the Commonwealth. See
Part 2, Chapter 6, Article II and Article VIII of the Amendments to the Constitution. A judge should
regularly reexamine the propriety of continuing in the appointed position, as the composition and/or
mission of any such committee, board, or commission may change.

	       [2] A judge may represent the United States, the Commonwealth of Massachusetts, or the
judge’s county, city or town on ceremonial occasions or in connection with historical, educational, or
cultural activities. Such representation does not constitute acceptance of a government position.

Rule 3.5 Use of Nonpublic Information

A judge shall not knowingly* disclose or use nonpublic information* acquired in a judicial ca-
pacity for any purpose unrelated to the judge’s judicial duties.

Comment

	       [1] In the course of performing judicial duties, a judge may acquire information of commercial
or other value that is unavailable to the public. The judge must not reveal or use such information for
personal gain or for any purpose unrelated to the performance of judicial duties.

	       [2] This Rule is not intended to affect a judge’s ability to act on information as necessary to
protect the health or safety of the judge or a member of the judge’s family,* court personnel,* or any
other person if consistent with other provisions of this Code.

Rule 3.6 Affiliation with Discriminatory Organizations

(A) A judge shall not hold membership in any organization that practices invidious discrimination.

(B) A judge shall not use the benefits or facilities of an organization if the judge knows* or should
be aware that the organization practices invidious discrimination. A judge’s attendance at an
event in a facility of such organization is not a violation of this Rule when the judge’s attendance
is an isolated event that could not reasonably be perceived as an endorsement of the organiza-
tion’s practices.

Comment

	       [1] A judge’s public manifestation of approval of invidious discrimination diminishes public
confidence in the integrity* and impartiality* of the judiciary. A judge’s membership in an organiza-
tion that practices invidious discrimination similarly diminishes public confidence in the integrity*
and impartiality* of the judiciary.




                                     Ex. A, p. 68 of 91.                                                    61
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 69 of 91
     Code   of   Judicial Conduct
     	       [2] Whether an organization practices invidious discrimination is a complex question to which
     judges must be attentive. The answer cannot be determined from a mere examination of an organization’s
     current membership rolls, but depends upon how the organization selects members, as well as other
     relevant factors, such as whether the organization is dedicated to the preservation of religious, ethnic,
     or cultural values of legitimate common interest to its members that do not stigmatize any excluded
     persons as inferior and therefore unworthy of membership. The purpose of this Rule is to prohibit
     judges from joining organizations practicing invidious discrimination, whether or not an organization’s
     membership practices are constitutionally protected. When a judge learns that an organization to which
     the judge belongs engages in invidious discrimination, the judge must resign immediately from the
     organization.

     	       [3] Whether an organization engages in invidious discrimination is a threshold issue but not
     the end of the judge’s inquiry. Even an organization that does not engage in invidious discrimination
     may engage in practices such that a judge’s membership in the organization might erode public con-
     fidence in the impartiality* of the judiciary. Before holding membership in any organization, a judge
     must consider whether membership would appear to undermine the judge’s impartiality* in the eyes
     of a reasonable litigant. See Rules 3.1 and 3.7.

     	       [4] A judge’s membership in a religious organization as a lawful exercise of the freedom of
     religion is not a violation of this Rule.

     	      [5] This Rule does not apply to national or state military service.

     Rule 3.7 Participation in Legal, Educational, Religious, Charitable, Fraternal, or Civic Organi-
     zations and Activities

     (A) Subject to the requirements of Rule 3.1, a judge may participate in activities of or sponsored
     by or on behalf of (i) legal, educational, religious, charitable, fraternal, or civic organizations,
     which are not conducted for profit, or (ii) governmental entities concerned with the law,* the
     legal system, or the administration of justice. Permitted participation includes but is not limited
     to the following:
             (1) A judge may serve as a member of the organization.
             (2) A judge may plan and attend events and activities of the organization.
             (3) A judge may participate in internal discussions related to fundraising. However, a
             judge shall not otherwise participate in fundraising, and shall not manage or invest funds
             belonging to or raised by the organization unless the organization is composed entirely
             or predominantly of judges and exists to further the educational or professional interests
             of judges.
             (4) A judge shall not solicit contributions or members for the organization, except that
             a judge may solicit contributions or members from members of the judge’s family* or
             from judges over whom the judge does not exercise supervisory or appellate authority.
             (5) A judge may serve as an officer, director, trustee, or nonlegal advisor of the organiza-
             tion, unless it is likely that the organization:
                     (a) will be engaged in proceedings that would ordinarily come before the judge; or
                     (b) will frequently be engaged in adversary proceedings in the court of which the
                     judge is a member, or in any court subject to the appellate jurisdiction of the court
                     of which the judge is a member.


62                                        Ex. A, p. 69 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 70 of 91
                                                                      Code    of   Judicial Conduct
       (6) A judge may serve as a keynote or featured speaker at, receive an award or other com-
       parable recognition at, be featured on the program of, and permit the judge’s title to be
       used in connection with the promotion of an organization’s event that is not a fundraising
       event,* but shall not do so at a fundraising event* except as permitted in Paragraph (6A).
       (6A) A judge may serve as a keynote or featured speaker at, receive an award or other
       comparable recognition at, be featured on the program of, and permit the judge’s title
       to be used in connection with the promotion of a fundraising event* only if the event is
       sponsored by an organization concerned with the law,* the legal system, or the admin-
       istration of justice, and that organization promotes the general interests of the judicial
       branch of government or the legal profession, including enhancing the diversity and
       professionalism of the bar.
       (7) A judge may make recommendations to public or private fund-granting organiza-
       tions or agencies for programs and projects, but only on behalf of organizations that are
       concerned with the law,* the legal system, or the administration of justice.

(B) A judge may encourage lawyers to provide pro bono publico legal services.

(C) A judge may, as a parent or guardian, assist minor children in their fund-raising activities if
the procedures employed are not coercive and the sums solicited are modest.

Comment

	       [1] This Rule governs a judge’s participation in a variety of activities sponsored by organiza-
tions not conducted for profit, whether public or private, and by governmental entities (collectively
referred to as “organizations”). Paragraph (A) identifies the types of organizations covered by this Rule.
Examples include bar associations, other not-for-profit private organizations, and court-created com-
missions. The first clause of Paragraph (A), “subject to the requirements of Rule 3.1,” emphasizes that
even with respect to activities that are explicitly permitted by Rule 3.7, a judge must always consider
whether participation would violate Rule 3.1.

	        [1A] In considering whether participation in any extrajudicial activity would violate Rule 3.1,
a judge should consider all relevant factors, including the membership and purposes of the organiza-
tion, the nature of the judge’s participation in or association with the organization or event, whether the
organization or its members typically advocate on one side of issues before or likely to come before
the court of which the judge is a member or any court subject to the appellate jurisdiction of the court
of which the judge is a member, and the number, diversity, and identity of the financial supporters of
the organization or sponsors of a particular event. Although activities permitted under this Rule must
be of or sponsored by an organization not conducted for profit, this requirement does not preclude the
judge from participating in events of an organization that receives sponsorship or financial support
from for-profit entities. A judge must avoid giving the impression that the organization, its members,
or an event’s sponsors are in a special position to influence the judge, and, where appropriate, a judge
must avoid giving the impression that the judge favors the organization’s mission.

	       [1B] The Code explicitly encourages certain activities where the nature of a judge’s participation
will promote public understanding of and confidence in an independent* judiciary, foster collegiality
among the bar and communication and cooperation between the judiciary and the bar, enhance the
judge’s ability to perform judicial or administrative duties, or otherwise further the goals of the courts.


                                      Ex. A, p. 70 of 91.                                                     63
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 71 of 91
     Code    of   Judicial Conduct
     See, e.g., Rule 1.2, Comments [4] and [6]. So, for example, judges are encouraged to speak about the
     administration of justice to not-for-profit groups, including business and community groups and bar
     associations. Such speaking engagements ordinarily will not raise an issue under Rule 3.1 even when
     an event or program is held in space provided by a law firm or is financially supported or sponsored
     by one or more for-profit entities, such as law firms or legal vendors, that do substantial business in
     the court on which the judge sits. If, however, fundraising is a chief objective of the event or program,
     Paragraph (A)(6A) governs whether a judge may be a keynote or featured speaker. Giving a presenta-
     tion at an educational conference where the judge’s involvement would help to further the goals of the
     court system is another example of encouraged participation. Such participation would not ordinar-
     ily raise an issue under Rule 3.1 even when the conference is financially supported or sponsored by
     organizations or vendors that do business in the court on which the judge sits.

     	       [2] The restrictions in Paragraph (A)(4) are necessary because, depending on the circumstances,
     a judge’s solicitation of contributions or members for an organization might create the risk that the
     person solicited would feel obligated to respond favorably or would do so to curry favor with the judge.
     However, a judge may be identified by name and title as an organization’s officer, director, trustee,
     non-legal advisor, or member on websites, emails, letterhead, and any other communication materials
     created and issued by others within the organization to solicit or accept donations or to enroll members
     so long as comparable designations are used for other persons.

     	       [3] As used in Paragraphs (A)(6) and (A)(6A), a fundraising event* is one for which the or-
     ganizers’ chief objectives include raising money to support the organization’s activities beyond the
     event itself. Unless that is the case, an event is not a fundraising event,* even if the revenues ultimately
     exceed the cost. A judge may attend a fundraising event* but may not participate in additional activities
     except as permitted by Paragraph (A)(6A). However, a judge who attends a fundraising event* is not
     in violation of this Rule merely because a laudatory reference to or about the judge, not announced in
     advance, is made at the event.

     	       [4] Paragraph (A)(6A) permits a judge to participate in additional activities (e.g., being a
     featured speaker or receiving an award) at fundraising events* of or sponsored by organizations con-
     cerned with the law,* the legal system, or the administration of justice that serve the general interests
     of the judicial branch of government and the legal profession, including organizations that enhance
     the diversity and professionalism of the bar. The nature of such organizations makes it unlikely that a
     judge’s involvement would reflect adversely upon that judge’s independence,* integrity,* or impartial-
     ity.* Organizations concerned with the general interests of the judicial branch of government and the
     legal profession include general purpose and affinity bar associations (e.g., county bar associations,
     bar associations composed exclusively or primarily of members of an ethnic group, bar associations
     specializing in particular practice areas but whose members take positions on both sides of disputed
     issues), organizations dedicated to enhancing the professionalism of the judicial branch (e.g., the
     National Center for State Courts), and organizations composed entirely or primarily of judges (e.g.,
     the Massachusetts Judges Conference, the Flaschner Judicial Institute), but exclude organizations
     composed exclusively or primarily of lawyers who typically take one side of contested issues (e.g.,
     plaintiffs’ personal injury bar associations, insurance defense bar associations), organizations dedicated
     to influencing opinion on contested legal or constitutional issues, or organizations that represent one
     constituency (e.g., prosecutors, criminal defense counsel).




64                                         Ex. A, p. 71 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 72 of 91
                                                                      Code     of   Judicial Conduct
	       [5] In addition to the types of participation expressly contemplated by this Rule, a judge’s
permissible extrajudicial activities often involve teaching or writing on law-related subjects and, on
occasion, non-law-related subjects. See Rule 1.3 for special considerations that arise when a judge
writes or contributes to publications of a for-profit entity. Similar considerations also may arise if a
judge teaches for a for-profit entity.

	        [6] In addition to appointing lawyers to serve as counsel for indigent parties in individual cases
as authorized by law,* a judge may promote broader access to justice by encouraging lawyers to provide
pro bono publico or reduced fee legal services, if in doing so the judge does not employ coercion or
abuse the prestige of judicial office. Such encouragement may take many forms, including providing
lists of available programs, training lawyers to do pro bono publico legal work, and participating in
events recognizing lawyers who have done pro bono publico work.

	       [7] Paragraph (C) is intended to allow a judge to participate in a child’s normal, daily activities.
Thus, for example, a judge may accompany the judge’s child while the child sells Girl Scout cookies
or collects UNICEF donations, or may work at a refreshment stand at a school-sponsored sports event
intended to raise money to finance a class trip. On the other hand, this provision does not permit a
judge to participate in fundraising activities for the primary or exclusive benefit of the judge’s own
child, such as raising funds so that the judge’s child may participate in a school-sponsored trip. The
word “assist” is intended to convey that a judge should not engage in direct solicitations on behalf
of the child other than from members of the judge’s family.* A judge may not, for example, sell Girl
Scout cookies in the workplace.

Rule 3.8 Appointments to Fiduciary Positions

(A) A judge shall not accept appointment to serve in a fiduciary* position, except for the estate,
trust, or person of a member of the judge’s family,* and then only if such service will not interfere
with the proper performance of judicial duties.

(B) A judge shall not serve in a fiduciary* position if the judge as fiduciary* will likely be en-
gaged in proceedings that would ordinarily come before the judge, or if the estate, trust, or ward
becomes involved in adversary proceedings in the court on which the judge serves, or one under
its appellate jurisdiction.

(C) A judge acting in a fiduciary* capacity shall be subject to the same restrictions on engaging
in financial activities that apply to a judge personally.

(D) If a person who is serving in a fiduciary* position becomes a judge, he or she must comply
with this Rule as soon as reasonably possible and in any event within one year.

Comment

	      [1] A judge should recognize that other restrictions imposed by this Code may conflict with
a judge’s obligations as a fiduciary.* In such circumstances, a judge should resign as fiduciary* as
soon as reasonably possible and in any event within one year. For example, serving as a fiduciary*
might require frequent disqualification of a judge under Rule 2.11 because a judge is deemed to have



                                      Ex. A, p. 72 of 91.                                                      65
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 73 of 91
     Code   of   Judicial Conduct
     an economic interest* in shares of stock held by a trust if the amount of stock held is more than de
     minimis.

     Rule 3.9 Service as Arbitrator or Mediator

     A judge shall not act as an arbitrator or a mediator or perform other judicial functions apart
     from the judge’s official duties unless expressly authorized by law.*

     Comment

     	      [1] This Rule does not prohibit a judge from participating in mediation, conciliation, or settle-
     ment conferences performed as part of judicial duties. Rendering dispute resolution services apart from
     those duties, whether or not for economic gain, is prohibited unless it is expressly authorized by law.*

     Rule 3.10 Practice of Law

     A judge shall not practice law,* except that:

     (A) A judge may act pro se and may, without compensation, give legal advice to and draft or
     review documents for a member of the judge’s family,* but is prohibited from serving as the
     family member’s lawyer in any forum, and

     (B) A judge may serve as a judge advocate general in the context of a judge’s service in the
     United States Armed Forces, the reserve components of the United States Armed Forces, or the
     National Guard.

     Comment

     	       [1] A judge may act pro se in all legal matters, including matters involving litigation and mat-
     ters involving appearances before or other dealings with governmental bodies.

     	       [2] A judge must not use the prestige of office to advance the judge’s personal or family inter-
     ests. See Rule 1.3.

     	      [3] While performing legal services in the context of a judge’s military service, the judge must
     confine that conduct to authorized activities.

     Rule 3.11 Financial, Business, or Remunerative Activities

     (A) A judge may hold and manage investments of the judge and members of the judge’s family.*

     (B) A judge shall not serve as an officer, director, manager, general partner, advisor, or employee
     of any business entity except that a judge may manage or participate in a business entity primarily
     engaged in investment of the financial resources of the judge or members of the judge’s family.*

     (C) A judge shall not engage in financial activities permitted under Paragraphs (A) and (B) if
     they will:


66                                        Ex. A, p. 73 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 74 of 91
                                                                     Code    of   Judicial Conduct
       (1) interfere with the proper performance of judicial duties;
       (2) lead to frequent disqualification of the judge;
       (3) involve the judge in frequent transactions or continuing business relationships with
       lawyers or other persons likely to come before the court on which the judge serves; or
       (4) result in violation of other provisions of this Code.

Comment

	      [1] As soon as practicable without serious financial detriment, the judge must divest himself
or herself of investments and other financial interests that might require frequent disqualification or
otherwise violate this Rule.

	      [2] Under this Rule, a judge must consider the difference between the permitted management of
an investment and the prohibited management of a business. For example, a judge who owns residential
or commercial properties as investments may establish policy and participate in decisions regarding
the purchase, sale, and use of land, but must leave the actual day-to-day management to others.

Rule 3.12 Compensation for Extrajudicial Activities

A judge may accept reasonable compensation for extrajudicial activities permitted by this Code
or other law* unless such acceptance would appear to a reasonable person to undermine the
judge’s independence,* integrity,* or impartiality.*

Comment

	       [1] A judge is permitted to accept wages, salaries, royalties, or other compensation for teaching,
writing, and other extrajudicial activities, provided the compensation is commensurate with the task
performed and the judge’s qualifications to perform that task. A judge must ensure, however, that no
conflicts are created by the arrangement. A judge must not appear to trade on the judicial position for
personal advantage. See Rule 1.3. In addition, the source, amount, and timing of the payment, alone
or in combination, must not raise any question of undue influence or undermine the judge’s ability to
act independently,* impartially,* and with integrity.* The judge should also be mindful that judicial
duties must take precedence over other activities. See Rule 2.1.

	       [2] A teaching activity may include lecturing in educational programs sponsored by non-profit
organizations and associations including but not limited to educational institutions, bar associations,
professional associations, providers of continuing legal education, and governmental entities concerned
with the law,* the legal system, or the administration of justice. A judge is not permitted to accept an
honorarium or fee for a speaking engagement other than a teaching activity, but may accept reimburse-
ment of expenses. See Rule 3.14.

	      [3] Compensation derived from extrajudicial activities may be subject to public reporting. See
Rule 3.15.




                                     Ex. A, p. 74 of 91.                                                     67
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 75 of 91
     Code   of   Judicial Conduct
     Rule 3.13 Acceptance and Reporting of Gifts, Loans, Bequests, Benefits, or Other Things of Value

     (A) A judge shall not accept any gifts, loans, bequests, benefits, or other things of value (“gifts”
     or “benefits”) if acceptance is prohibited by law* or would appear to a reasonable person to
     undermine the judge’s independence,* integrity,* or impartiality.*

     (B) Unless otherwise prohibited by Paragraph (A), a judge may accept the following gifts or
     benefits provided that they are not given for or because of the judge’s official position or action,
     without publicly reporting them:
            (1) gifts or benefits not of substantial value* as that term is defined by the State Ethics
            Commission, see 930 C.M.R. 5.05;
            (2) gifts or benefits from close personal friends* or relatives whose appearance or interest
            in a matter pending* or impending* before the judge would in any event require disquali-
            fication of the judge under Rule 2.11;
            (3) ordinary social hospitality;
            (4) gifts or benefits given in connection with a judge’s participation in the organizations
            described in Rule 3.7, so long as the same gifts, benefits, and opportunities are made avail-
            able on the same terms to similarly situated persons who are not judges;
            (5) commercial or financial opportunities and benefits, including special pricing and dis-
            counts, and loans from lending institutions in their regular course of business, if the same
            opportunities and benefits or loans are made available on the same terms to similarly
            situated persons who are not judges;
            (6) rewards and prizes given to competitors or participants in random drawings, contests,
            or other events that are open to persons who are not judges;
            (7) scholarships, fellowships, and similar benefits or awards, if they are available to simi-
            larly situated persons who are not judges, based upon the same terms and criteria; and
            (8) gifts or benefits associated with the business, profession, or other separate activity of
            a spouse, a domestic partner,* or other family member of a judge residing in the judge’s
            household,* but that incidentally benefit the judge.

     (C) Unless otherwise prohibited by Paragraph (A), a judge may accept any other gift or benefit
     provided that it is not given for or because of the judge’s official position or action, but the judge
     must publicly report the gift or benefit in the manner required under Rule 3.15.

     (D) Unless otherwise prohibited by Paragraph (A), a judge may accept the following gifts or
     benefits given for or because of the judge’s official position or action, without publicly reporting
     them:
            (1) a gift, award, or other benefit incident to public recognition of the judge, provided the
            gift is not of substantial value* as that term is defined by the State Ethics Commission,
            see 930 C.M.R. 5.05;
            (2) invitations to the judge to attend without charge a luncheon, dinner, reception, award
            ceremony, or similar event, held in Massachusetts, of a bar association or other non-profit
            organization concerned with the law, the legal system, or the administration of justice;
            (3) discounted or free membership to a bar association or other non-profit organization
            concerned with the law,* the legal system, or the administration of justice; and
            (4) books, magazines, journals, and other resource materials supplied by publishers on
            a complimentary basis for official use.


68                                       Ex. A, p. 75 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 76 of 91
                                                                      Code    of   Judicial Conduct
(E) Unless otherwise prohibited by Paragraph (A), a judge may accept the following gifts or
benefits given for or because of the judge’s official position or action, but the judge must publicly
report the gift or benefit in the manner required under Rule 3.15:
       (1) a gift, award, or other benefit incident to public recognition of the judge, if the gift
       is of substantial value* as that term is defined by the State Ethics Commission, see  930
       C.M.R. 5.05; and
       (2) a complimentary invitation for a spouse or domestic partner,* or other guests, to at-
       tend an event of a bar association or other non-profit organization concerned with the
       law, the legal system, or the administration of justice where a judge is being honored.

Comment

	        [1] This Rule addresses whether and in what circumstances a judge may accept gifts or other
items of value (“gifts” or “benefits”) without paying fair market value. Judges, like other public em-
ployees, are governed by the conflict of interest laws set forth in G. L. c. 268A and c. 268B and by
associated regulatory exemptions that establish exclusions for certain situations that do not present
a genuine risk of a conflict of interest or the appearance of a conflict of interest. This Code is largely
consistent with c. 268A and regulations adopted by the State Ethics Commission. However, Rule 3.13
differs from those provisions in two important respects. First, because judges are always obligated
to uphold and promote the independence,* integrity,* and impartiality* of the judiciary, a judge may
not accept any gift or benefit, even if available to other public employees and unrelated to the judge’s
official position or action, if acceptance would appear to a reasonable person to undermine the judge’s
independence,* integrity,* and impartiality.* Second, this Rule carves out a few limited exceptions
where a judge may accept a gift or benefit given for or because of the judge’s official position or ac-
tion even if such gift or benefit would ordinarily be prohibited by G. L. c. 268A, §§ 3 and 23(b)(2).
See Rule 1.1. These exceptions are intended to allow judges to participate more fully in activities and
organizations dedicated to the law,* the legal system, and the administration of justice.
	
	        [2] Paragraph (A) recognizes that whenever a judge accepts a gift without paying fair market
value, even one not given for or because of a judge’s official position or action, there is a risk that the
public may regard the gift as an attempt to influence the judge in the performance of judicial duties.
Paragraph (A) therefore requires a judge to reject any gift if acceptance would appear to a reasonable
person to undermine the judge’s independence,* integrity,* or impartiality.* Paragraphs (B) and (C)
address instances when a gift is not given for or because of a judge’s official position or action. Para-
graph (B) identifies limited circumstances in which a gift may be accepted and not disclosed, while
Paragraph (C) allows for additional instances when a judge may accept but must publicly report a
gift. Paragraphs (D) and (E) identify limited instances where, after making a threshold determination
that acceptance of a gift or benefit would not appear to a reasonable person to undermine the judge’s
independence,* integrity,* or impartiality,* a judge may accept a gift or benefit given for or because
of the judge’s official position or action. Paragraph (D) identifies instances when the judge may accept
such a gift or benefit without public disclosure while Paragraph (E) identifies instances when public
reporting is required to foster public confidence in the judiciary.

	       [3] A judge’s acceptance of a gift from a lawyer or law firm who is appearing before the judge
is an example of a gift prohibited by Paragraph (A), as such a gift would appear to a reasonable person
to undermine the judge’s independence,* integrity,* or impartiality.* A judge’s acceptance of a gift
or other thing of value from a party when the party’s interests are before the judge raises the same


                                      Ex. A, p. 76 of 91.                                                     69
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 77 of 91
     Code    of   Judicial Conduct
     concerns. The same concerns also are raised when the lawyer or law firm has appeared before, or the
     party’s interests have come before, the judge in the reasonably recent past or are likely to come before
     the judge in the future.

     	        [4] Paragraph (B)(1) provides that a judge may accept and not publicly report a gift or benefit
     not of substantial value* if it is not prohibited by Paragraph (A) and is not given because of a judge’s
     official position or action.

     	        [5] Gift-giving between close personal friends* and relatives is a common occurrence, and
     ordinarily does not create an appearance of impropriety* or cause a reasonable person to believe that
     the judge’s independence,* integrity,* or impartiality* has been compromised even when the close
     personal friend* or relative is a lawyer. In addition, because the appearance of close personal friends*
     or relatives in a case would require the judge’s disqualification under Rule 2.11, there would be no
     opportunity for a gift or other thing of value to influence the judge’s decision making; nor would a
     reasonable person believe that the gift was given due to the judge’s official position. Paragraph (B)(2)
     places no restrictions upon the ability of a judge to accept gifts or other things of value from friends
     or relatives under these circumstances and does not require public reporting.

     	       [6] “Ordinary social hospitality” consists of those social events and routine amenities, gifts,
     and courtesies which are normally attended by or exchanged between friends, colleagues, and acquain-
     tances, and which would not create an appearance of impropriety* to a reasonable, objective observer.
     The test is objective, not subjective. Paragraph (B)(3) permits that type of social event or gift which
     is so common among people in the judge’s community that no reasonable person would believe that:
     (i) the host/giver was intending to or would obtain any advantage; or (ii) the guest/recipient would
     believe that the host/giver intended to obtain any advantage.

     	        [7] Paragraph (B)(4) recognizes that a judge’s participation in organizations and activities, such
     as those permitted under Rule 3.7, may lead to the judge’s being offered a gift or benefit. A judge may
     accept such a gift or benefit so long as the same gift or benefit is made available on the same terms to
     similarly situated persons who are not judges. For example, a local professional performer may offer
     the members of a neighborhood chorus complimentary tickets of substantial value* to attend a concert.
     A judge who sings in the chorus may accept a ticket because the gift is offered on the same terms to
     all of the members.

     	       [8] Businesses and financial institutions frequently make available special pricing, discounts,
     and other benefits, either in connection with a temporary promotion or for preferred customers, based
     upon longevity of the relationship, volume of business transacted, and other factors. Paragraphs (B)
     (5) - (B)(7) provide that a judge may freely accept such benefits if they are available to the general
     public, or if the judge qualifies for the special price or discount according to the same criteria as are
     applied to persons who are not judges. As an example, loans provided at generally prevailing interest
     rates are not gifts, but a judge could not accept a loan from a financial institution at a below-market
     interest rate unless the same rate was being made available to the general public for a certain period
     of time or to borrowers with specified qualifications that the judge also possesses.

     	       [9] This Rule applies only to acceptance of gifts or benefits by a judge. Nonetheless, if a gift
     or benefit is given to the judge’s spouse, domestic partner,* or member of the judge’s family residing
     in the judge’s household,* it may be viewed as an attempt to evade this Rule and influence the judge


70                                         Ex. A, p. 77 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 78 of 91
                                                                      Code     of   Judicial Conduct
indirectly. Where the gift or benefit is being made primarily to such other persons, and the judge is
merely an incidental beneficiary, this concern is reduced and Paragraph (B)(8) does not require disclo-
sure. A judge should remind family and household members of the restrictions imposed upon judges,
and urge them to take these restrictions into account when making decisions about accepting such gifts
or benefits.

	       [10] Paragraph (C) allows a judge to accept any other gift of substantial value* that is not given
because of the judge’s official position or action and is not prohibited by Paragraph (A), provided that
the judge publicly reports the gift.

	       [11] In general, the receipt by a judge of free or discounted legal services carries a significant
risk that such a gift would appear to a reasonable person to be given because of the judge’s official
position or action and to undermine the judge’s independence,* integrity,* or impartiality.* There are,
however, certain circumstances when that risk is sufficiently abated that a judge may accept and not
disclose a gift of free or discounted legal fees pursuant to Paragraphs (B)(2) or (B)(5) or may accept
but must disclose the gift pursuant to Paragraph (C).

	       Paragraph (B)(2) permits a judge to accept and not disclose free or discounted legal services
from a relative or close personal friend* whose appearance in a matter would require the judge’s
disqualification if the lawyer is a sole practitioner or at a firm where all the lawyers are relatives or
close personal friends* of the judge (e.g., a firm composed of two siblings who are both close personal
friends* of the judge). Because a gift of legal services is always a gift from both the lawyer provid-
ing the services and that lawyer’s firm, Paragraph (B)(2) does not apply if the lawyer providing the
services is a sole practitioner but not a relative or close personal friend* of the judge, or if that lawyer
works at a firm where not all of the lawyers are relatives or close personal friends* of the judge.

	       Paragraph (B)(5) permits a judge to accept and not disclose free or discounted legal services
when a lawyer or law firm has offered special pricing or a discount as part of a commercial opportunity
or marketing strategy to a group of similarly situated persons who are not judges. For example, a law
firm may have different rate structures for individual and corporate clients. Another example is a law
firm that offers a reduced rate for estate planning services to all persons over 65. Paragraph
(B)(5) does not apply if the special pricing is offered as a professional courtesy only to judges.

	       Paragraph (C) provides for instances when a judge may accept but must disclose free or
discounted legal services. A reasonable person would not believe the gift or benefit undermines the
judge’s independence,* integrity,* or impartiality* when the same discount is extended to non-judges
in comparable circumstances, and the lawyer, the lawyer’s firm, and their interests are not before the
judge, have not come before the judge in the reasonably recent past, and are not likely to come before
the judge in the reasonably near future. Examples of comparable circumstances include the following:
a law firm’s policy is to extend professional courtesies to all former partners, and the judge is a former
partner; a law firm’s policy is to extend professional courtesies to the relatives of partners, and the
judge’s sibling is a partner at the firm; a lawyer’s policy is to offer discounted legal services both to
lawyers facing proceedings before the Board of Bar Overseers and to judges facing proceedings be-
fore the Commission on Judicial Conduct. Nevertheless, disclosure is necessary to maintain public 	
confidence in the judiciary by making readily identifiable any potential for compromise to the judge’s
independence,* integrity,* or impartiality.*



                                      Ex. A, p. 78 of 91.                                                      71
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 79 of 91
     Code    of   Judicial Conduct
     	       [11A] Where a judge retains legal representation due to a matter before the Commission on
     Judicial Conduct, a judge may be entitled to the payment of reasonable attorneys’ fees by the Com-
     monwealth with the approval of the Supreme Judicial Court as provided by G. L. c. 211C, § 7(15) . See
     SJC Standing Order Regarding Procedure for Judges Seeking a Determination Concerning Attorneys’
     Fees for Representation in a Matter Before the Commission on Judicial Conduct.

     	       [11B] A judge may accept free or discounted legal representation due to a matter before the
     Commission on Judicial Conduct upon a determination by the Supreme Judicial Court that such rep-
     resentation would serve the public interest. See SJC Standing Order Regarding Procedure for Judges
     Seeking a Determination Concerning Attorneys’ Fees for Representation in a Matter Before the Com-
     mission on Judicial Conduct.

     	       [12] Paragraphs (D) and (E) identify limited instances when, after making a threshold deter-
     mination that, in the particular circumstances, acceptance of a gift or benefit would not appear to a
     reasonable person to undermine the judge’s independence,* integrity,* or impartiality,* a judge may
     accept a gift or benefit given for or because of the judge’s official position or action. Paragraph (D)
     identifies instances where the risk of the appearance of a conflict of interest is so slight that public
     reporting is not required, while Paragraph (E) identifies instances in which public reporting is required.

     	       [13] Paragraph (D)(1) permits a judge to accept gifts not of substantial value* that are incident
     to public recognition of the judge. Examples might include plaques, trophies, and certificates. Gifts
     that are inscribed or personalized may have little market value.

     	        [14] Paragraphs (D)(2) and (D)(3) are intended to encourage judicial participation in the activi-
     ties of bar associations and other non-profit organizations concerned with the law,* the legal system,
     and the administration of justice. Judicial participation in such activities promotes professionalism
     within the legal profession and public confidence in the administration of justice. See, e.g., Rules 1.2,
     3.1, and 3.7.

     	       Paragraph (D)(2) encourages judicial participation in bar association activities by permitting
     judges to attend without charge luncheons, dinners, receptions, award ceremonies, or similar events
     held in Massachusetts. Unlike the invitations addressed in Rule 3.14, invitations under Paragraph
     (D)(2) may be accepted without obtaining a determination by the Chief Justice of the court on which
     the judge sits that acceptance will serve a legitimate public purpose, and that such public purpose
     outweighs any non-work related benefit to the judge or to the organization providing the waiver of
     expenses. That is because the judge’s attendance at these types of events is presumed to serve such a
     public purpose.

     	       [15] Paragraph (D)(4) provides that a judge may accept for official use books and other elec-
     tronic and non-electronic resource materials supplied by publishers on a complimentary basis.

     	      [16] Paragraph (E)(1) permits a judge to accept a gift of substantial value* incident to public
     recognition of the judge, but requires the judge to publicly report the gift.

     	       [17] Paragraph (E)(2) recognizes that there are instances when it may be appropriate for a
     judge to accept complimentary invitations for family members or guests so long as the judge publicly



72                                        Ex. A, p. 79 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 80 of 91
                                                                      Code    of   Judicial Conduct
reports the gift. For example, a judge receiving an award from a bar association may accept an offer
of complimentary tickets to be used by the judge’s spouse and children.

Rule 3.14 Reimbursement of Expenses and Waivers of Fees or Charges

(A) Unless otherwise prohibited by Rules 3.1 and 3.13(A) or other law,* a judge may accept re-
imbursement of necessary and reasonable expenses for travel, food, lodging, or other incidental
expenses, or a waiver or partial waiver of fees or charges for registration, tuition, and similar
items, from sources other than the judge’s employing entity, if the expenses or charges are as-
sociated with the judge’s participation in extrajudicial activities permitted by this Code.

(B) Reimbursement of expenses for necessary travel, food, lodging, or other incidental expenses
shall be limited to the actual costs reasonably incurred by the judge.

(C) If the invitation to the judge is connected to the judge’s official position or official action and
is not covered by Rule 3.13(D)(2), a judge is required to notify the Chief Justice of the court on
which the judge sits and obtain a determination that acceptance of the reimbursement or waiver
serves a legitimate public purpose and such purpose outweighs any non-work related benefit to
the judge or to the person or organization providing the payment or waiver of expenses.

Comment

	        [1] This Rule applies specifically to a judge’s attendance at tuition-waived and expense-paid
seminars and similar events that may be sponsored by law-related organizations or by educational,
civic, religious, fraternal, and charitable organizations, and is intended to apply to events not described
in Rule 3.13(D)(2).

	       [2] Not infrequently, sponsoring organizations invite certain judges to attend seminars or
other events on a fee-waived or partial-fee-waived basis, and sometimes include reimbursement for
necessary travel, food, lodging, or other incidental expenses. A judge’s decision whether to accept
reimbursement of expenses or a waiver or partial waiver of fees or charges in connection with these
or other extrajudicial activities must be based upon an assessment of all the circumstances. The judge
must undertake a reasonable inquiry to obtain the information necessary to make an informed judg-
ment about whether acceptance would be consistent with the requirements of this Code.

	        [3] A judge must assure himself or herself that acceptance of reimbursement or fee waivers
would not appear to a reasonable person to undermine the judge’s independence,* integrity,* or impar-
tiality.* This decision involves consideration of the totality of circumstances, including but not limited
to the nature of the sponsor, the source of the funding, whether the sponsor or source of the funding
frequently takes positions on issues before or likely to come before the court where the judge sits,
and the content of the program or event, including whether differing viewpoints are presented. Where
the invitation is associated with any of the judge’s non-law-related activities, including educational,
religious, fraternal, or civic activities, the judge may accept reimbursement or fee waiver only if the
same invitation is offered to similarly-situated non-judges who are engaged in similar ways as the
judge.




                                      Ex. A, p. 80 of 91.                                                     73
                  Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 81 of 91
     Code    of   Judicial Conduct
     	       [4] Paragraph (C) is intended to ensure that a judge obtains a determination from the Chief
     Justice of the court on which the judge sits that a legitimate public purpose is served by the judge’s
     acceptance of the reimbursement or waiver when the invitation is connected to the judge’s official
     position or official action. In contrast, no such determination is required in the circumstances covered
     by Rule 3.13(D)(2) because a legitimate public purpose is presumed.

     Rule 3.15 Reporting Requirements

     (A) A judge shall annually complete the Public Report of Extra-Judicial Income in the form
     promulgated by the Supreme Judicial Court and the Statement of Financial Interests in the form
     promulgated by the Massachusetts State Ethics Commission.

     (B) The Public Report of Extra-Judicial Income shall require the public reporting of the follow-
     ing items if they are of substantial value*:
            (1) compensation received for extrajudicial activities permitted under Rule 3.12; and
            (2) gifts and other things of value where disclosure is required by Rule 3.13.

                                   CANON 4:
     A JUDGE SHALL REFRAIN FROM POLITICAL ACTIVITY INCONSISTENT WITH THE
          INDEPENDENCE,* IMPARTIALITY,* OR INTEGRITY* OF THE JUDICIARY

     Rule 4.1 Political and Campaign Activities

     (A) A judge shall not:
            (1) act as a leader in, or hold an office in, a political organization*;
            (2) make speeches on behalf of a political organization* or candidate;
            (3) publicly endorse or oppose a candidate for any public office;
            (4) solicit funds for, pay an assessment to, or make a contribution to a political organiza-
            tion* or a candidate for public office; or
            (5) attend or purchase tickets for dinners or other events sponsored by a political organi-
            zation* or a candidate for public office or intended to raise money or gather support for
            or against a political organization* or candidate.

     (B) A judge may engage in activity in support or on behalf of measures to improve the law,* the
     legal system, or the administration of justice, provided that the judge complies with the other
     provisions of this Code.

     (C) On assuming a judicial office, a judge shall resign any elective public office then held.

     Comment

     	       [1] While judges have the right to participate as citizens in their communities and not be iso-
     lated from the society in which they live, judges must at all times act in a manner that promotes public
     confidence in their independence,* integrity,* and impartiality.* This Rule imposes restrictions on a
     judge’s political activities because public confidence in the judiciary is eroded if judges are perceived
     to be subject to political influence or give the impression of favoring the interests of a political orga-
     nization* or candidate.


74                                        Ex. A, p. 81 of 91.
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 82 of 91
                                                                       Code    of   Judicial Conduct
	       [2] The restrictions in Paragraph (A) prohibit a judge from engaging in any public display in
support of or opposition to a political candidate, including displaying a bumper sticker on an automobile
the judge regularly uses, posting a campaign sign outside the judge’s residence, signing nomination
papers for a political candidate or ballot issue, carrying a campaign sign, distributing campaign literature,
or encouraging people to vote for or give money to a particular candidate or political organization.*

	       [3] A judge may not avoid the restrictions imposed by this Rule by making contributions or
endorsements through a spouse, domestic partner,* or other member of the judge’s family.* Political
contributions by the judge’s spouse or domestic partner* must result from that person’s independent
choice, and checks by which contributions are made must not include the name of the judge.

	       [4] Although members of the judge’s family* are free to engage in their own political activity,
including running for public office, a judge must not endorse, appear to endorse, become involved in,
or publicly associate with any family member’s political activity or campaign for public office.

	       [5] A judge may register as a member of a political party. A judge may also attend non-partisan
events, such as a forum that is open to all candidates and is intended to inform the public.

Rule 4.2 Activities of Judges Who Become Candidates for Nonjudicial Office

(A) Upon becoming a candidate in a primary or general election for elective office, a judge shall
resign from judicial office.

(B) Upon becoming a candidate for a nonjudicial appointive office, a judge is not required to re-
sign from judicial office, provided that the judge complies with the other provisions of this Code.

Comment

	       [1] The “resign to run” rule set forth in Paragraph (A) ensures that a judge cannot use the ju-
dicial office to promote his or her candidacy. When a judge is seeking appointive nonjudicial office,
however, the dangers are not sufficient to warrant imposing the “resign to run” rule.

	      [2] Upon being appointed to any nonjudicial office except as permitted by Rule 3.4, a judge
must resign from judicial office.

As amended October 8, 2015, effective January 1, 2016.




                                       Ex. A, p. 82 of 91.                                                      75
     Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 83 of 91




76                       Ex. A, p. 83 of 91.
Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 84 of 91




                         APPENDIX D

        FLOW CHART OF COMMISSION PROCEDURES




                    Ex. A, p. 84 of 91.                           77
           Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 85 of 91
     Flow Chart




             COMPLAINT         SCREENING                        NOT DOCKETED
            §5(1), Rule 6A       Rule 6B                       Complainant Notified
                                                                  Rule 6C(1)
                                                                   NO      OC

                                                                           R l C(1)
                               DOCKETED                 TO COMMISSION IMMEDIATELY IF:
                                Rule 6C(2)              - Frivolous or unfounded (Rule 6D)
                                                        - Stale (Rule 6E)
                                                             TO COMM          ON
                                                        - Anonymous (Rule 6F)
                                                               Fi l
                                                        - Danger of retaliation or
                                                               S     ( l 6E)
                                                          destruction of evidence (Rule 6G)
                                                                            (R     6F)



                               NOTIFY JUDGE                Notify judge of less
                               §5(2), Rule 6C(3)           than full complaint
                                                        §5(2)(a)+(b), Rule 6G(4)
                                                                    f   d              DISMISS

                               INVESTIGATION
                               §5(1)-(5), Rule 6H
               SWORN
           COMPLAINT OR
           STATEMENT OF
                   SWOR
            ALLEGATIONS
               COMPL N
                §5(5)
                T TE



                                                    JUDGE HAS 21 DAYS TO RESPOND
                                                                    and
                                                     TO REQUEST AN APPEARANCE
                                                        UDGE H S 2 DAYS TO RES
                                                       (Judge Entitled to Discovery)
                                                                          nd
                                                               §5(7) + (8)
                                                                UES A




           FORMAL CHARGES
              §5(13) + (14)                    Continued on Next Page




78                             Ex. A, p. 85 of 91.
   Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 86 of 91
                                                                                        Flow Chart




Continued from
previous page

         CO PL I T
    FORMAL CHARGES
        § ( ) ue
       §5(13) + (14)

                                                      JUDGE HAS 10 DAYS TO RESPOND
                                                                  §5(14)
    FORMAL CHARGES
       and RESPONSE
    FILED WITH SJC and
     BECOME PUBLIC
           §5(14)                                             - Danger SJC
                                                          DISCOVERY;      f re APPOINTS
                                                                               a iation r
                                                                destruction
                                                              HEARING OFFICERof eviden
                                                                  §7(2); §5(14)

                                                    COMMISSION SCHEDULES HEARING
                                                                 ify ju
                                                                §7(1)




                                           TIGATION
                                           The Commission may, at any stage of the proceedings:
    PUBLIC HEARING                         5)  ule 6H the complaint or,
                                           a) dismiss
         §7(3)
                                           b) with the agreement of the judge,
                                                   i.   dispose of it by Agreed Disposition pursuant
                                                        to M.G.L. §8(1) or §8(3), or
                                                   ii. send it to the SJC for disposition pursuant to
                                                        Commission Rule 13.


   HEARING OFFICER’S REPORT                                   20 DAYS FOR EITHER SIDE
             §7(8)                                             TO SUBMIT
                                                                   AS 21 D OBJECTIONS
                                                                               S T RE P
                                                                         §7(8)
    PUBLIC HEARING RE RECOMMENDATION,
   IF REQUESTED BY JUDGE OR COMPLAINANT
                    §7(9)


   COMMISSION’S RECOMMENDATION TO SJC
                §7(9) + (10)


   SJC DECIDES
           5(1 RE
               ) + SANCTION
                   14)

      Simplified for purposes of explication. M.G.L. c. 211C and Commission Rules govern.




                               Ex. A, p. 86 of 91.                                                      79
     Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 87 of 91




80                       Ex. A, p. 87 of 91.
Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 88 of 91




                        APPENDIX E


                    COMPLAINT FORM




                    Ex. A, p. 88 of 91.                           81
     Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 89 of 91




82                       Ex. A, p. 89 of 91.
             Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 90 of 91
    Complaint form


                                       COMMONWEALTH OF MASSACHUSETTS
                                        COMMISSION ON JUDICIAL CONDUCT
                                           11 BEACON STREET, SUITE 525
                                        BOSTON, MASSACHUSETTS 02108-3006
                                                Phone: (617) 725-8050
                                                 Fax: (617) 248-9938


                                        COMPLAINT FORM
                                                     CJC Complaint Number: ________________

This form is designed to provide the Commission with information necessary to determine whether your
complaint falls within the Commission’s jurisdiction, pursuant to M.G.L. Chapter 211C, and whether an
investigation or further action should be taken. Please review the Code of Judicial Conduct (SJC Rule 3:09)
and the rules of the Commission, both of which are available on the Commission’s website at
www.mass.gov/cjc, before filling out this form. ONLY ONE JUDGE MAY BE COMPLAINED OF ON EACH
FORM.

                       PLEASE TYPE OR PRINT CLEARLY ALL INFORMATION

 Your name:_______________________________________________________________________________

 Your address:_____________________________________________________________________________

 ________________________________________________________________________________________

 Daytime telephone number:__________________________________________________________________

 Name of judge:____________________________________________________________________________

 Court:___________________________________________________________________________________

 Case name:_______________________________________________________________________________

 Docket number:___________________________________________________________________________

 Attorney(s) involved:_______________________________________________________________________

 Date(s) of misconduct: ______________________________________________________________________

 Has an appeal been filed?____________________________________________________________________

 Please summarize the general nature of your complaint:
 ________________________________________________________________________________________

 ________________________________________________________________________________________

 ________________________________________________________________________________________

 ________________________________________________________________________________________


                                       Ex. A, p. 90 of 91.                                                    83
                 Case 1:18-cv-12059-IT Document 1-1 Filed 10/03/18 Page 91 of 91
                                                                                           Complaint Form


     Specific Facts: Please describe exactly what the judge did that you believe constitutes judicial misconduct or
     evidence of disability, and on what date(s). YOUR COMPLAINT WILL BE SCREENED ON THE BASIS
     OF THIS FORM ONLY. DO NOT RELY UPON ATTACHMENTS TO MAKE YOUR ALLEGATIONS.
     (You may attach copies of any documents which support your allegations, for the purposes of the
     investigation. Please delete anyone’s personal identifying information, such as social security number, bank
     account information, or credit card information.)

     ________________________________________________________________________________________

     ________________________________________________________________________________________

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     ________________________________________________________________________________________

     I understand that this complaint and any other communication to or from the Commission on Judicial Conduct
     must remain confidential to the extent required by M.G.L. Chapter 211C, Section 6, and Commission Rule 5.
     I also understand that this complaint and any attachments I send to the Commission become the property of
     the Commission and will not be returned to me.



                                                                Signed: __________________________________

                                                                  Date: __________________________________

     Please mail completed form to:

     Executive Director
     Commission on Judicial Conduct
     11 Beacon Street, Suite 525
     Boston, MA 02108-3006

84                                         Ex. A, p. 91 of 91.
